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                          UNITED STATES DISTRICT COURT                                 ("//(#$/  "/
                          WESTERN DISTRICT OF VIRGINIA                                 -/ ./"/$$
                                                                                            !*&-/ "/
                               LYNCHBURG DIVISION

   ROBERT LEARN,
                                                            CASE NO. 6:20-cv-00060
                                    Plaintiff,

                            v.                              MEMORANDUM OPINION

   THE LINCOLN NATIONAL LIFE
   INSURANCE COMPANY,
                                                            JUDGE NORMAN K. MOON
                                    Defendant.


         This case concerns whether the plaintiff was entitled to long-term disability (LTD)

  benefits under his plan governed by the Employee Retirement Income Security Act of 1974.

  Plaintiff Robert Learn served as Regional Director of Outpatient Rehabilitation at Centra Health

  in Lynchburg from 2015 to early 2017. But when Mr. Learn suffered a “thyroid storm”—i.e., an

  extreme case of hyperthyroidism that can have life-threatening consequences—in 2016, he

  stopped working. Accordingly, Defendant Lincoln National Life Insurance Company paid LTD

  benefits to Mr. Learn for 21 months while his physicians tried to normalize his thyroid hormone

  levels and he was unable to work. In 2018, Mr. Learn’s doctor was satisfied that his hormone

  levels had normalized, and so Lincoln stopped paying LTD benefits.

         While his thyroid condition had stabilized, Mr. Learn experienced lingering cognitive

  problems. He got a new job as a home health therapist but had to quit weeks later as he was

  unable to recall treatment plans, could not remember how to drive to patients’ homes and

  otherwise felt that he could not safely perform the job. Neuropsychological test results showed

  that Mr. Learn suffered from impaired short-term memory. Consequently, his neuropsychologist

  confirmed he was disabled. Mr. Learn’s new endocrinologist similarly concluded that as a
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  consequence of the thyroid storm in 2018 he suffered lasting cognition deficits, and would not be

  able to return to work in anything like his prior position. His prior endocrinologist who had

  previously certified he was no longer disabled also acknowledged his “objective” cognitive

  decline.

         Still, Lincoln denied Mr. Learn’s benefits appeals. Lincoln’s final denial of Mr. Learn’s

  appeal was plagued by myriad shortcomings. For instance, Lincoln never mentioned any of Mr.

  Learn’s doctors. Or their diagnoses. Or, indeed, any evidence Mr. Learn had submitted. Rather,

  Lincoln just copied and pasted a handful of conclusions from the reports of two outside doctors

  Lincoln hired to review his claim file, without independent analysis. Further, those outside

  reviewers’ reports were based on incomplete information. Importantly, Lincoln never gave them

  affidavits submitted by Mr. Learn, his wife, his mother-in-law and friends attesting to instances

  where his impaired cognition manifested. And that omission was critical. One outside reviewer

  acknowledged that “impaired sustained attention and amnestic dysfunction” were symptoms of

  thyroid disorders, but he wrote “these symptoms are not reported to be observed behaviorally” in

  Mr. Learn’s case. That is incorrect. The affidavits—which Lincoln had not provided to the

  reviewers—described in detail how those symptoms were exhibited in Mr. Learn’s behavior. He

  now cannot follow simple instructions. He struggles with counting. He cannot perform simple

  addition. He frequently forgets what he is saying in the middle of saying it. The examples go on

  and on. Nonetheless, Lincoln adopted wholesale the reviewer’s conclusion that Mr. Learn had no

  debilitating limitations, ignoring contrary evidence in the record. And that is just one problem

  with Lincoln’s final denial.




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         Because Lincoln’s denial of LTD benefits was not supported by substantial evidence, it

  was unreasonable. And because substantial uncontradicted evidence established Mr. Learn’s

  continuing total disability, LTD benefits will be awarded.

                                                 Background

         1. Professional & Educational History

         Robert Learn served as the Regional Director of Outpatient Rehabilitation at Centra

  Health, Inc., in Lynchburg from November 2015 to February 2017, before he left the position

  and sought long-term disability. Dkt. 20-1, LIN1183, Robert Learn Affidavit. (“RL Aff.”) ¶ 14.

  He is in his early-to-mid 50’s. See id. ¶ 1.

         In 1989, Mr. Learn graduated with a B.S. in health and physical education. In 1994, he

  received his master’s degree in physical therapy from Shenandoah University/Winchester

  Medical Center. Since then, he has been licensed by the Virginia Board of Physical Therapy. Id.

  ¶¶ 3–5. Mr. Learn has held various positions as a physical therapist in West Virginia and

  Virginia, getting promoted to senior physical therapist and then a clinical director position in

  2003. Id. ¶¶ 7–11. Then, from 2005 to 2015, Mr. Learn worked as the Program

  Director/Regional Director in the Physical Therapist Assistant Program for ECPI University in

  Newport News. He also served as the curriculum chair for the program from 2012 to 2015. Id.

  ¶¶ 12–13.

         In 2015 he took the position of Regional Director of Outpatient Rehabilitation at Centra

  Health. In that role, Mr. Learn’s responsibilities included working to recruit and retain highly

  skilled staff; overseeing budget preparation; utilizing productivity and quality outcome

  benchmarks; directing and supervising employee performance; and working with the Managing




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  Director to develop and implement a strategic plan. Mr. Learn held this position from November

  2015 to February 2017. Id. ¶ 14.

          2. Onset of Symptoms

          Mr. Learn’s symptoms originally appeared in 2016. They included difficulty thinking,

  significant weight loss (60 pounds), agitation, sweating, frequently tiring for no discernible

  reason, and frequent and intermittently explosive bowel movements. Id. ¶¶ 15, 17. He “tried to

  work through the episodes,” but was put on medical leave in August 2016 “because [he] could

  not do [his] job,” and his “symptoms steadily increased in both frequency and severity.” Id. ¶ 16.

  Mr. Learn’s primary care physician, Dr. Gibbs, initially intended to prescribe him medication for

  a tickborne illness. Id. ¶ 18.

          But in May 2016, while Mr. Learn was in Farmville for his job, he had to leave early; he

  drove to Lynchburg General Hospital, where he was diagnosed with hyperthyroidism. Id. ¶ 19.

  Afterward, Dr. Gibbs consulted with Dr. Reed, an endocrinologist, for treatment of Mr. Learn’s

  thyroid condition. Id. ¶ 20.

          3. Performance Review

          On February 10, 2017, Mr. Learn received a poor performance review from his

  supervisor. LIN2197–98. The listed “current performance concerns” included: “Doesn’t listen

  and retain information easily, seems to concentrate on what he is going to say next versus active

  listening;” “Impulsivity with tasks and objectives: needs to address in person what’s on your

  mind;” “Body language, we have had many discussions around a calmer demeanor in meetings;”

  “Overly enthusiastic during meetings … gets up & down, etc.;” “Lacks composure at times,

  easily rattled, and doesn’t handle stress well;” “Prioritization, planning and completion of tasks

  takes too long;” and “Becomes visibly frustrated when tasks have ambiguity and require flexible


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  thinking or objectives change.” Id. Mr. Learn’s supervisor also criticized his “[c]ontinued lack of

  business acumen,” “[i]nability to form a cohesive unit with [his] managers,” and a “[l]ack of

  confidence in [his] ability to represent” the Outpatient Rehabilitation division in meetings and

  other settings. Id.

          4. Dr. Reed Letter

          On February 21, 2017, Dr. Reed provided a “medical statement” on behalf of Mr. Learn,

  which stated, in part, that he had been treating Mr. Learn “as his endocrinologist since May

  2016,” at which point he was “newly diagnosed with Graves’ disease and thyrotoxicosis in May

  2016.” LIN2072. Dr. Reed stated that, despite treatment with medication, Mr. Learn “continued

  to have severe symptoms of thyrotoxicosis including palpitations, agitation and shortened

  attention span and an attention deficit.” Id.

          Dr. Reed further wrote that Mr. Learn “proceeded to have symptoms of hyperthyroidism

  and this was and continues to be complicated by an anxiety disorder, for which he is seen by a …

  psychiatrist,” Dr. Judd. Id. Dr. Reed stated that he and Dr. Judd had several conferences about

  co-management and use of several medications “to determine if there were drug interactions

  with [Mr. Learn’s] underlying anxiety condition.” One such drug, propranolol, “clearly can be

  associated with mood swings with affective disease and clinical and subclinical hyperthyroidism

  can be commonly associated with anxiety, depression, agitation, mood swings as well as

  metabolic consequences of weight loss and palpitations. Mr. Learn suffered at one time or

  another from all of these symptoms during the period between May [2016] through February

  2017.” Id. Dr. Reed further commented that Mr. Learn’s “treatment with [Iodine]-131 was

  partially effective,” and that his “combined anxiety disorder and the inability to normalize




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  thyroid function with [Iodine]-131 and large doses of methimazole left him in a state of

  subclinical hyperthyroidism for much of the period between May [2016] and February 2017.” Id.

         Dr. Reed determined that,

         “I have read the descriptions of Mr. Learn’s behavior by his supervisor. The
         actions of lack of attention, inability to focus and the need to simplify and restate
         facts are all consistent with a patient who is attempting to manage the hyperactive
         and hyperadrenergic state of both that are a part of thyrotoxicosis as in May of
         201[6]. The clinical hyperthyroidism in June and July of 2016 and period of
         hyperthyroidism in October and December 2016 would also be associated with
         these symptoms. His underlying anxiety disorder could well have amplified the
         symptoms of clinical and subclinical hyperthyroidism and made these much
         worse.”

  LIN2073 (emphasis added). Dr. Reed further wrote that, “[u]nder the current plan, I believe he

  will suffer from an unstable thyroid condition with periods of possible subclinical

  hyperthyroidism for up to 12 weeks from now,” and that a “repeat dose of [Iodine]-131 ablative

  thyroid therapy will be recommended, at which time he will suffer from a changing thyroid state

  for another 16 weeks at a minimum.” Id.

         Accordingly, Dr. Reed concluded that, “[i]n [his] opinion this gentleman’s performance

  is very difficult to assess until he has been rendered biochemically euthyroid for a period of 8

  weeks or more. Many if not all of his described behaviors could well have been either directly or

  indirectly accounted for by the coexistent thyrotoxicosis and subclinical hyperthyroidism.” Id.

  (emphasis added).

         5. Mr. Learn Applies for LTD Benefits

         In May 2017, Mr. Learn filed a claim for LTD benefits. LIN3043–47. Mr. Learn

  described his symptoms as: flu-like exhaustion, increased heart rate, fever, lessened appetite,

  decreased cognitive function, depression, insomnia, weight loss, and headaches. LIN3044. He




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  wrote that he first noticed these symptoms in March 2016 and first sought treatment by a

  physician for them in May 2016. Id.

         In his application, Mr. Learn stated that he was unable to work due to severe exhaustion,

  anxiety, depression, and a significant decline in cognition and executive-level functioning. Id. He

  also wrote that, before he stopped working, his condition required him to change the way he did

  his job as he needed significantly more time to perform job responsibilities; as a result, he

  arrived early and stayed late at work. Id. Mr. Learn provided the names of his doctors, including

  his primary care physician, Dr. Gibbs, his endocrinologist, Dr. Reed, and his psychiatrist, Dr.

  Judd. LIN3045. Mr. Learn stated that the last day he worked was February 23, 2017, and the first

  day he was unable to work on account of his disability was February 24, 2017. LIN3044. He also

  stated that he expected he would be able to return to work by September 2017. Id.

         Dr. Reed submitted an “attending physician statement” with Mr. Learn’s claim for LTD

  benefits. LIN2970–72. Dr. Reed stated that Mr. Learn’s primary diagnosis was “Graves’ Disease

  (Hyperthyroidism)” and also included “Depression / Anxiety.” 1 LIN2970. Dr. Reed wrote that

  Mr. Learn’s symptoms first appeared in May 2016, and included “extreme anxiety, inability to

  focus, short attention, emotional [instability] and tachycardia.” Id. Concerning treatment, Dr.

  Reed indicated that Mr. Learn previously had Iodine-131 treatment which “fail[ed] … in 2016,”

  but he noted Mr. Learn was scheduled for an Iodine-131 radiation therapy repeat dose in May

  2017 and with a follow-up “to achieve euthyroidism”—i.e., normal thyroid function. Id. Dr.

  Reed provided a restriction for Mr. Learn that he “should not” “attend to personnel interaction

  and management,” on account of his “inability to focus and attend to details” during his Iodine-

  131 radiation therapy. LIN2972.

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          Dr. Reed also noted that Mr. Learn saw a psychiatrist “in conjunction with [himself] for
  [Mr. Learn’s] anxiety disorder.” Id.

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         But overall, Dr. Reed believed that Mr. Learn’s “prognosis for recovery” was “very

  good,” and that his “thyroid condition will be eventually completely resolved with either I-131

  or surgery …” Id. Dr. Reed also wrote that “it is fully expected I-131 … will correct the

  hyperthyroidism.” Id. He wrote that “following I-131 he should improve over 60 days gradually

  and by 120 days should be metabolically euthyroid,” i.e., having a normal functioning thyroid

  gland, “and mentally stable.” Id. Dr. Reed further expected that, within 120 days, Mr. Learn

  “should resolve all of the above limitations and be fully functional.” Id. On May 9, 2017, another

  dose of Iodine-131 therapy was administered to Mr. Learn. LIN1997.

         6. Lincoln Approves LTD Benefits

         On July 21, 2017, Lincoln approved Mr. Learn’s claim for LTD benefits. LIN2923. His

  monthly benefit was $5,899.32 per month. Id.

         In its approval letter, Lincoln wrote that “[d]isability benefits will be considered as long

  as you remain eligible according to the terms of this policy.” LIN2924. Lincoln continued:

  “Your policy provides benefits as long as you are unable to perform the main duties of your Own

  Occupation, as defined in your policy.” Id. But, “after this period your claim will be re-

  evaluated. Benefits will continue if you are disabled from performing any type of work.” Id.

  The approval letter also cautioned: “… you are required by this policy to remain under the

  regular care and attendance of a legally qualified physician who can verify your continuing

  disability. Occasionally, we will send you supplementary claim forms to provide us with

  continuing proof of disability, which will include requesting current medical records.” Id.

         7. Further Developments in Treatment

         On February 12, 2018, Dr. Reed submitted another “Attending Physician’s Statement” to

  Lincoln in relation to Mr. Learn’s treatment. LIN2861–63. In it, Dr. Reed noted that the “patient


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  has improved over the last 12 weeks as he approaches euthyroidism.” LIN2861. With respect to

  Mr. Learn’s physical impairments, Dr. Reed noted that his “mood and depression/anxiety with

  fluctuating thyroid state,” placed him at a “level 3,” meaning he had a “moderate limitation of

  [his] functional capacity,” but was capable of clerical or administrative sedentary activity. Id.

  However, Dr. Reed assessed that Mr. Learn was “now improving to level 2,” by which he meant

  Mr. Learn could perform medium manual activity. Id. Concerning Mr. Learn’s mental

  impairments, Dr. Reed believed that Mr. Learn was currently “able to function in most stress

  situations and engage in most interpersonal relationships,” which was a “slight limitation.” Id.

  Dr. Reed explained that Mr. Learn initially was at a level such that he was “able to engage in

  only limited stress situations and engage in only limited interpersonal relationships,” i.e., a

  moderate limitation. Id.

          At that time, Dr. Reed assessed that Mr. Learn was not totally disabled from his job.

  LIN2862. Further, Dr. Reed determined that he expected a fundamental or marked change in Mr.

  Learn’s condition in a month, writing: “I expect by [March 8, 2018] that his TSH [Thyroid

  Stimulating Hormone levels] will be normal and he can be released to full duty.” Id. Dr. Reed

  also wrote that Mr. Learn had “loss of cognitive functioning,” stating that, “[i]n the past, his

  cognitive function was impaired by high thyroid [fluctuations]. He is now improving and

  expected to fully recover by [March 8, 2018].” Id. And when asked when Mr. Learn could return

  to work, Dr. Reed explained that “we will know from lab work on [March 8, 2018] but expect to

  be able at that time.” Id.

          Dr. Reed determined that Mr. Learn’s “target” TSH levels were 1-3 mU/L. LIN2716.

  From early 2017 until June 2018, Mr. Learn’s TSH levels had previously bounced above and

  below that target range without actually staying within those limits.


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                       Test Date                                       TSH Level

    March 5, 2017                                     0.04 mU/L

    March 20, 2017                                    0.07 mU/L

    March 30, 2017                                    13.13 mU/L

    May 30, 2017                                      0.01 mU/L

    June 20, 2017                                     0.08 mU/L

    June 27, 2017                                     8.31 mU/L

    August 4, 2017                                    27.81 mU/L

    September 19, 2017                                13.4 mU/L

    November 24, 2017                                 7.36 mU/L

    January 5, 2018                                   5.60 mU/L

    March 8, 2018                                     0.4 mU/L

    April 20, 2018                                    0.18 mU/L

    June 7, 2018                                      1.16 mU/L

    September 11, 2018                                1.03 mU/L


   See LIN2228. In fact, from March 2017 until September 2018, only the last two tests—i.e., June

   and September 2018—showed that Mr. Learn’s TSH levels were within Dr. Reed’s stated target

   range.

            On April 14, 2018, Mr. Learn conveyed to Dr. Reed that he “continues to feel tired in the

   morning,” and a few days later, relayed that “he continues to have exhaustion, difficulty with

   crisp thinking, depressive symptoms, and a malaise that is not improving.” Id. On April 20, Mr.

   Learn received lab results showing his TSH level again were low (0.18 mU/L). Id. And again,

   Dr. Reed adjusted Mr. Learn’s medications. Id.

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          On April 25, 2018, Mr. Learn visited Dr. Gibbs, his primary care physician, for an annual

   exam. LIN2711. Mr. Learn informed Dr. Gibbs that his “[m]emory is crap,” though his “[l]ong-

   term memory is good,” and “multi-tasking [is] better.” Id. He also conveyed that he “feels well

   with minor complaints, has decreased energy level and is sleeping well.” Id. Dr. Gibbs assessed

   in his mental status exam that Mr. Learn was “[o]riented X3 with appropriate mood and affect,

   able to articulate well with normal speech/language, rate, volume, and coherence, demonstrates

   appropriate judgment and insight and attention span and ability to concentrate are normal.” Id.

          On May 29, 2018, Mr. Learn visited Dr. Judd for a medication management follow-up.

   LIN1984. There, Mr. Learn reported that “he has continued to struggle with issues related to his

   thyroid,” and that “his mood, energy and motivation are still not at baseline. Irritability persists.”

   Id. Mr. Learn identified “no notable improvement in his mood,” and reported symptoms of

   depression “includ[ing] decreased energy and decreased mood,” but not “crying, difficulty

   concentrating, fatigue, hopelessness,” or other symptoms. Id. Dr. Judd determined that Mr.

   Learn’s “[m]ood is fair,” that he was not experiencing hallucinations or suicidal thoughts, and

   that his insight and judgment were “good.” Id. Finally, his laboratory tests from June 7 and

   September 11, 2018, showed that his TSH levels were within his target range (1.16 and 1.03

   mU/L, respectively). LIN2680, 2702.

          On September 12, 2018, Dr. Reed contacted Dr. Gibbs and Dr. Judd, describing his

   assessment of updates in Mr. Learn’s treatment. LIN2667–68. Dr. Reed wrote that Mr. Learn’s

   “laboratory studies today again are euthyroid,” which “values reflect now approximately 6

   months of biochemical euthyroidism and a stable” medication dosage. LIN2667. Dr. Reed

   acknowledged that Mr. Learn continued to complain of “malaise, mental alertness, fatigue, and

   inability to get out of bed,” although Dr. Reed considered that Mr. Learn’s “overall alertness on


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   the phone cognitive ability and verbal affect all appear normal to me in our refill and discussions

   [sic].” Id.

           Dr. Reed advised the other doctors that “[d]isability insurer Lincoln will be calling [Mr.

   Learn] in about a week to review the results of these laboratory data and our recommendations.”

   Id. Dr. Reed further wrote that he had relayed to Mr. Learn “that he is now biochemically

   euthyroid,” and that Dr. Reed could “no longer recommend a biochemical basis for any

   disability.” Id. Dr. Reed therefore determined that he “will not be able to recommend further

   disability on the basis of hypothyroidism as [Mr. Learn’s] serum TSH is now in the middle of the

   reference range that we would target for between 1 and 2 mU/L and [h]is free T4 in the reference

   range. And it has been this way for now approximately 6 months.” Id. Dr. Reed wanted the other

   doctors “to have this information because [Mr. Learn] will be looking for other reasons for

   fatigue.” Id. Dr. Reed also noted that Mr. Learn “sees [Dr.] Gibbs and was treated recently for a

   presumed Lyme disease.” Id.

           Mr. Learn saw Dr. Judd on September 20, November 8, and December 12, 2018.

   LIN1945, 2789, 2797. In the September 20 visit, Mr. Learn reported “ongoing issues with

   irritability, sweating, and decreased motivation and appetite.” LIN2797. Dr. Judd wrote that Mr.

   Learn was “adequately dressed and groomed,” that his judgment was intact, his language “within

   normal limits,” and his fund of knowledge “adequate.” Id. Dr. Judd noted Mr. Learn’s mood was

   “blah.” Id. He decided upon a change in Mr. Learn’s medication plan: tapering and discontinuing

   Lexapro, starting Cymbalta (prescribed to treat Major Depressive Disorder), and planning to

   taper and discontinue Wellbutrin. LIN2798–99. On November 8, Mr. Learn “note[d] ongoing

   issues with decreased motivation.” LIN2789. Dr. Judd again made similar notations about how

   Mr. Learn presented himself, this time noting his mood as “fair.” Id. Again, Dr. Judd changed the


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   dosage of Mr. Learn’s medication: increasing his dosage of Cymbalta. LIN2790. And on

   December 12, Dr. Judd noted that Mr. Learn “report[ed] an improvement” in his depression, that

   he “is slightly more motivated,” and that “[h]is concentration is slightly improved.” LIN1945.

   Dr. Judd, again, made similar notations about Mr. Learn’s mental status. Id. And yet again, Dr.

   Judd increased Mr. Learn’s Cymbalta dosage. LIN1946.

           8. Lincoln Reviews Mr. Learn’s LTD Benefits

          On October 25, 2018, Mr. Learn submitted to Lincoln a supplementary statement

   concerning his disability status. LIN2837. He continued to claim total disability at that time. Id.

   Mr. Learn stated that he expected to be able to return to work “[a]s soon as [his] depression,

   anxiety, irritability, [and] cognitive function return to normal.” Id. He specifically described his

   then-current symptoms to include “poor short term memory,” inability to “multi-task,” as well as

   fatigue and anxiety. Id. He also wrote that he had a limitation in terms of decreased “cognitive

   function.” Id. Mr. Learn explained that he believed that these symptoms were the “results of

   Graves’ Disease,” but that he was taking medication for his “mental health and cognitive issues.”

   Id. At that time, Mr. Learn described his present activities as including “simple housework and

   chores, shopping, [and] taking care of [the] dog.” Id. Mr. Learn signed the statement, attesting

   that all of the information he provided was true and complete to the best of his knowledge and

   belief, having read and understood certain “attached Fraud Warning Statements.” Id.

          On February 12, 2019, after Lincoln failed to get an attending physician statement from

   Dr. Judd, Lincoln sought a third-party psychiatric peer review of Mr. Learn’s file. LIN43. Dr.

   Phillip Helding, who is board certified in psychiatry, performed the review. LIN2411. Dr.

   Helding found that Mr. Learn’s “primary diagnosis is noted to be major depressive disorder

   (MDD) and anxiety.” Id. Dr. Helding considered that while Mr. Learn “has a diagnosis of


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   Depression and Anxiety, review of the office notes provided don’t substantiate symptoms are of

   an impairing proportion,” and there was “no indication symptoms are impacting claimant’s day

   to day activities and function.” LIN2412. Dr. Helding decided that “[b]ased upon [his] review of

   the available medical facts, [he] did not find that [Mr. Learn] was functionally impaired from a

   psychiatric perspective.” LIN2414. He also found that “there are no behavioral limitations and

   restrictions necessary for this claimant.” Id. Dr. Helding concluded that the “psychiatric

   information offered … does not describe symptoms of a severity that would typically be

   expected to cause any functional impairment to the point of not being able to perform work

   related tasks.” Id.

           9. Lincoln Disallows LTD Benefits

           On March 4, 2019, Lincoln sent Mr. Learn a letter stating that it had “completed [its]

   review of [his] Long Term Disability claim and have determined that no additional benefits are

   payable beyond 03/05/2019.” LIN2404. Lincoln stated that, after reviewing “the information

   currently contained in your claim file, we have determined that you do not meet the definition of

   Total Disability.” Id. In support of that conclusion, Lincoln referred to Dr. Reed’s September 12,

   2018 letter, which “noted that [Mr. Learn] was now biochemically euthyroid and [he] could no

   longer recommend this as a basis for disability.” LIN2405. Lincoln also referenced Dr. Helding’s

   report, in which he determined that the psychiatric information about Mr. Learn “does not

   describe symptoms of a severity that would typically be expected to cause any functional

   impairment to the point of not being able to perform work related tasks.” LIN2406.

           In its letter, Lincoln described that Mr. Learn had originally “stopped working due to a

   diagnosis of thyrotoxicosis (Graves’ Disease),” the treatment for which included “radioactive

   iodine ablation therapy and monitoring of [his] hormone levels.” LIN2407. It also noted that


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   “[d]ue to this therapy, it was recommended that medication management of [Mr. Learn’s]

   underlying behavioral conditions be suspended pending completion of treatment for [his]

   thyrotoxicosis.” Id. Lincoln noted that Dr. Reed indicated on September 12, 2018 that Mr. Learn

   “was no longer considered disabled due to Graves’ Disease.” Id. However, given Mr. Learn’s

   depression and anxiety, Lincoln stated that it also evaluated medical records to “assess any

   potential work restrictions and limitations due to these diagnoses.” Id. Relying on Dr. Helding’s

   report on February 22, 2019, Lincoln concluded that Mr. Learn “no longer meets the definition

   of Total Disability as indicated in [his] policy and [his] claim file has been closed.” Id.

   Ultimately, Lincoln paid Mr. Learn 21 months of LTD payments before discontinuing them.

   Dkt. 26 at 1; Dkt. 27-1 at 3.

           10. Post-Denial Developments

          On March 7, 2019 (three days after Lincoln denied his LTD payments), Mr. Learn met

   with Dr. Judd. Dr. Judd noted that Mr. Learn’s “thyroid condition has normalized.” LIN1935.

   But he also wrote that Mr. Learn “reports no notable improvement in his depressive

   [symptoms],” and while “anxiety is improved[,] [h]is motivation remains down. His

   concentration is fair. … He spends his days interacting with his dog.” Id.

          On April 29, 2019, Mr. Learn went to see a new psychiatrist, Dr. Kenneth Fore. In his

   initial evaluation, Mr. Learn informed Dr. Fore that he had been diagnosed two years prior with

   Graves’ Disease “after noticing weight loss and fatigue,” and “weird, bad, skittish behavior.”

   LIN1396. He noted that over the next two years, he sought endocrinology treatment as well as

   psychiatric treatment from Dr. Judd. During that time, his TSH had improved. Id. But Mr. Learn

   also reported that for six months he had “fatigue, depression, no motivation, [and] poor

   attentiveness/cognitive issues,” and that his depression was “problematic for roughly two years.”


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   Id. Mr. Learn further conveyed that he was “not pleased with Dr. Judd,” and was “frustrated with

   care” from him. Id. Dr. Fore also noted that Dr. Judd “did not feel [Mr. Learn] was still disabled

   and [Mr. Learn] was recently denied for disability.” Id. Mr. Learn explained that he was “dealing

   with some lingering cognitive issues.” Id. Yet, he reported that “with his improved mood, he

   found a job” as a home health therapist. Id.

          At the conclusion of the evaluation, Dr. Fore diagnosed Mr. Learn with “mood disorder

   due to known physiological condition with depressive features.” LIN1398. He further planned to

   continue Mr. Learn’s medications, but would “consider lowering [them] after 6 months of

   feeling well.” Id.

          Dr. Fore saw Mr. Learn again less than a month later (May 20, 2019). LIN1392. Dr. Fore

   noted that Mr. Learn was “struggling with his work as [a] home health worker and quit [his] job

   after one week” because he “could not do it.” Id. Mr. Learn explained that his “cognitive

   function is still problematic and [he is] looking at options currently.” Id. Mr. Learn also relayed

   that he was “going to appeal his disability [denial]” because his “cognition is in the toilet,” and

   he was worried that his “Graves’ Disease [was] causing long term cognitive issues.” Id. Dr. Fore

   noted that he discussed with Mr. Learn that “he will need some neuropsych[iatric] testing for

   further assessment of his executive functions,” and that Mr. Learn “[w]orries about his [long-

   term] employment options.” Id. Dr. Fore also noted that Mr. Learn’s “mood is improving and

   more stable[,] but overall his planning, execution skills are suffering to the point of leaving his

   job.” Id. Concerning Mr. Learn’s “thought process,” Dr. Fore noted that “cognitively [the

   patient] feels he is having difficulty and far from baseline. Seeing difficulty in his work

   performance.” LIN1393. Accordingly, Dr. Fore referred Mr. Learn to Dr. Joseph Conley for

   neuropsychological testing of further executive skills functions. LIN 1393–94, LIN2394.


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          11. Neuropsychological Evaluation by Dr. Conley

          On May 24, 2019, Dr. Conley performed a battery of tests on Mr. Learn to determine “his

   current neurocognitive status, given his history of Graves’ disease (i.e., hyperthyroidism),

   causing thyrotoxicosis and subsequent over-irradiated thyroid gland.” LIN2394.

          Dr. Conley made the following behavioral observations concerning Mr. Learn:

          Mr. Learn arrived on time for his scheduled appointment. He was neatly dressed
          and well groomed. He was alert and oriented in all spheres. Mood was anxious
          and elevated. Affect was appropriate to mood. Speech was pressed. Thought
          followed a logical, linear progression. He was inattentive, often asking that
          questions be repeated. He was friendly and cooperative, appearing to apply
          himself diligently to all tasks required of him. Therefore, test results are believed
          to accurately reflect his current level of neurocognitive functioning.

   LIN2395.

          Mr. Learn’s score on one test in particular (“RMW of RMT”) indicated “impaired

   mnestic function, specifically rapid decay of recently encoded verbal memory traces.” LIN2395.

   As a result, Dr. Conley found that the “[r]esults of neuropsychological evaluation are positive for

   the presence of neurocognitive dysfunction, specifically impaired sustained attention and mnestic

   dysfunction (i.e., rapid decay of recently encoded verbal memory traces) and a comorbid

   neuropsychiatric disturbance, characterized by depression, anxiety, irritability, weakness, chronic

   fatigue, fearfulness, inadequacy, moodiness, social alienation, and inability to cope with

   everyday stress and responsibility.” LIN2396. Dr. Conley determined that “[t]hese combined

   cognitive and neuropsychiatric problems very likely are a consequence of thyroid disease and

   associated functional deficits, given that this condition has been found to be associated with

   anxiety, irritability, memory problems, and poor concentration.” Id. For this point, Dr. Conley

   cited a peer-reviewed journal article entitled “A survey of neuropsychiatric complaints in

   patients with Graves’ disease.” Id. Accordingly, Dr. Conley concluded that “Mr. Learn’s


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   acquired neurocognitive deficits, combined with his reactive neuropsychiatric disorder,

   specifically Major Depressive Disorder, render him disabled and incapable of maintaining

   employment at the present time.” Id. (emphasis added). He further considered that Mr. Learn’s

   history of “strong academic and vocational achievement over a period of many years, prior to his

   thyroid disease, strongly supports this conclusion.” Id.

          Dr. Conley’s recommendations included that Mr. Learn could benefit “from a cautious

   trial on stimulant medication.” Id. Dr. Conley also considered that Mr. Learn’s “apparent mood

   disorder would appear to be a more pressing concern, requiring treatment as well.” Id.

          12. Mr. Learn’s First Appeal of Denial of Benefits

          On May 27, 2019, Mr. Learn appealed Lincoln’s denial of LTD benefits. LIN2381–82.

   Mr. Learn was acting on his own behalf—he was not yet represented by counsel. Mr. Learn

   noted that he was under the care of Dr. Fore, and was referred to Dr. Conley for cognitive tests.

   LIN2382. He asserted that Graves’ Disease “is a serious medical condition that continues to

   severely affect the quality of [his] everyday life—including [his] ability to work.” Id. Mr. Learn

   noted that he took a Physical Therapy position to support his family, but had to “terminate [his]

   employment after only two weeks because [he] was unable to handle the cognitive requirements

   of coordinating, scheduling, documenting, and treating [his] patients.” Id. Accordingly, Mr.

   Learn requested that Lincoln “reconsider [its] previous decision and reinstate [his] disability

   benefits.” Id. Mr. Learn further provided Dr. Conley’s neuropsychological test results to Lincoln.

   Id.; LIN2359–66.

          On June 10, 2019, Lincoln sent a letter acknowledging receipt of Mr. Learn’s appeal, and

   wrote that “[i]t is important that we have all available medical records so that we can have a clear

   picture of your current condition.” LIN2359. Lincoln asked that Mr. Learn respond about


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   whether he wished to “send in updated medical information,” and expressed that Lincoln

   “want[ed] to provide [him] with every opportunity to submit a complete appeal.” Id.; see also

   Dkt. 26 at 11 (noting that Lincoln “encouraged [Mr. Learn] to submit any additional materials

   bearing on his claimed disability”).

          Dr. Fore returned a “psychiatric supplemental information” form to Lincoln on Mr.

   Learn’s behalf, in which Dr. Fore stated that his diagnosis for Mr. Learn was “mood disorder

   (depression + anxiety) due to a known physiological condition.” LIN2354. Dr. Fore reported that

   Mr. Learn’s symptoms include dysfunction in his executive skills, and that Mr. Learn was

   “distressed over his lacking ability to stay on topic, organize, perform his work duties.” Id. With

   respect to the “expected outcomes and time frame,” Dr. Fore wrote that he “expected recovery of

   [Mr. Learn’s] executive skills [in] conservatively 6 months.” Id. Dr. Fore also noted that Mr.

   Learn had “immediate” and “recent” “memory problems” (though not “remote”), and that Mr.

   Learn’s concentration and attention were “impaired.” LIN2355.

          Lincoln contracted with Dr. Critchfield, who is board certified in clinical

   neuropsychology, to conduct a third-party review of the medical evidence in Mr. Learn’s file.

   LIN2347–52. Reviewing Dr. Conley’s evaluation of Mr. Learn, Dr. Critchfield noted that Mr.

   Learn’s results “were reported to reflect neurocognitive dysfunction due to the presence of

   impaired sustained attention and impaired memory, reflected in a diagnosis of Mild

   Neurocognitive Disorder due to Thyroid Disease.” LIN2348. Dr. Critchfield also explained that

   “[i]nspection of [Mr. Learn’s] scores indicated performance on a memory measure was low

   average,” “measures of attention capacity/working memory were average and divided attention

   were average.” Id. And he wrote that Mr. Learn’s “[p]erformance on measures of intellectual

   functioning, problems-solving, inhibition, naming, and processing speed were average.” Id. Dr.


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   Critchfield also explained that Mr. Learn’s “psychological functioning was reported to be

   remarkable for depressive symptoms reflected in a diagnosis of Major Depressive Disorder with

   anxious distress.” Id. Dr. Critchfield wrote that Dr. Conley’s evaluation “did not include any

   standalone measures of performance validity,” though the “[e]mbedded measures of performance

   validity appear[ed] to be within expectation.” Id. And Dr. Critchfield noted that Dr. Conley

   found Mr. Learn “unable to work due to his cognitive and psychological symptoms.” Id.

          Dr. Critchfield concluded that “[f]rom the time period of 5/29/2019 forward, it is this

   reviewer’s opinion that the available medical records do not provide adequate evidence of

   cognitive or psychiatric symptoms to result in functional impairment.” LIN2350. In Dr.

   Critchfield’s view, Dr. Conley’s neuropsychological evaluation “did not reflect memory or

   attention deficits of a nature or severity that would be expected to result in functional

   impairment. Furthermore, multiple mental status exams have reflected intact memory and

   attention.” Id. He also noted that Mr. Learn’s “[a]nxiety and depression have been longstanding,

   and present during time periods when the claimant had demonstrated the capacity to work.” Id.

   Dr. Critchfield also wrote that “[t]here is no record that psychological symptoms ever reached a

   severity necessitating a higher level of treatment, such as intensive outpatient or inpatient

   psychiatric admission.” Id.

          Mr. Learn then provided additional documentation from Dr. Fore, including his treatment

   records from appointments from June and July 2019. LIN2323–37. Lincoln acknowledged it had

   received the information and included it for medical review. LIN2323. In the June 2019 visit, Dr.

   Fore noted that Mr. Learn stated that he was “miserable” and “noted depression.” LIN2325. In

   the July 2019 visit, Dr. Fore noted that Mr. Learn stated that he is “in a bad way,” and discussed

   “his continued depressed state and worsening he feels.” LIN2335. Mr. Learn stated that “his


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   medications are not helping him and [he is] here today to get his medication changed.” Id. Dr.

   Fore also noted that Mr. Learn “is working with several organizations for his disability.” Id.

          Dr. Critchfield reviewed Dr. Fore’s new medical records and issued a supplementary

   report in August 2019. LIN2318–22. In the report, Dr. Critchfield concluded that, “[f]rom a

   neuropsychological perspective, the additional medical records do not provide support for

   cognitive or psychological symptoms of a nature or severity to result in functional impairment.”

   LIN2321. In his view, Dr. Critchfield assessed that the “[r]ecords indicate that [Mr. Learn] has

   had fluctuating report of depression, which have been treated with outpatient psychiatry

   appointments for medication management. There was no evidence his depressive symptoms were

   of a severity that required elevation to a higher level of care such as intensive outpatient or

   inpatient psychiatric treatment.” Id. Nor was there “evidence of suicidal ideation, psychotic

   symptoms, or gross neglect.” Id.

           13. Lincoln Denies First Appeal

          On August 30, 2019, Lincoln denied Mr. Learn’s appeal from the denial of LTD benefits.

   LIN2311. And Lincoln stated that “[a]ll information in the claim file, including the information

   provided on appeal, was reviewed by a health care consultant for physical impairments and

   [Dr. Critchfield] for cognitive or behavioral impairments.” Id. Lincoln wrote that, “[s]ince

   benefits were paid to 03/05/2019, the focus of our review is from this date forward.” Id.

          In its appeal denial letter, Lincoln quoted the conclusions of Dr. Critchfield from his

   reports of June 27 and August 20, 2019. LIN2314. Lincoln “recognize[d] [Mr. Learn] provided

   the opinion of [his] treating physician(s) regarding [his] condition and recovery;” however,

   Lincoln “found that the medical evidence provided did not support those decisions for physical,

   cognitive, or behavioral impairments.” Id. Lincoln continued: “The medical records did not


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   support restrictions and limitations that would preclude you from performing in your own or any

   occupation.” Id. Lincoln further assessed that “[r]ecords document normal mental status

   examinations, [and that] there was outpatient behavioral health treatment that did not require any

   additional intensive treatment.” Id.

          Lincoln acknowledged that Mr. Learn had been “diagnosed with thyrotoxicosis,

   depression, and anxiety.” LIN2315. Nonetheless, Lincoln stated that its “review of the medical

   documentation … does not support that [Mr. Learn] was unable to perform the main duties of

   [his] own or any occupation beyond [his] date benefits were last paid”—i.e., March 5, 2019. Id.

   Lincoln further stated that the “medical records on file document [he] [was] euthyroid (normal)

   and stable in September 2018,” and that “[t]here are no additional medical records for physical

   impairments” from March 5, 2019 onward. Id.

          In addition, Lincoln found that “[t]he available medical records do not provide adequate

   evidence of cognitive or psychiatric symptoms to result in functional impairment.” Id. With

   respect to Dr. Conley’s report, Lincoln stated that it “did not reflect memory or attention deficits

   of a nature or severity that would be expected to result in functional impairment.” Id. Lincoln

   further assessed that “multiple mental status examinations have reflected intact memory and

   attention.” Id. As for the “anxiety and depression,” Lincoln considered that they “have been

   longstanding, and present during time periods when [he] had demonstrated the capacity to

   work,” and Lincoln further concluded that “[t]here is no record that psychological symptoms

   ever reached a severity necessitating a higher level of treatment, such as intensive outpatient or

   inpatient psychiatric admission.” Id.




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          14. Post-Appeal Developments

          On September 9, 2019, Mr. Learn had another appointment with Dr. Reed to address his

   “postprocedural hyperthyroidism.” LIN1883. Dr. Reed assessed that Mr. Learn was

   “biochemically near euthyroid but has ongoing difficulty with depression and anxiety.” Id. He

   further wrote that Mr. Learn’s TSH level “has been stable over the last year with the exception of

   June and July[,] where the value had changed between 3.19 milliunits/L to a value of 0.97

   milliunits/L while different antidepressant medicines were being utilized.” Id. Dr. Reed noted

   that Mr. Learn has “done poorly since approximately April 2019,” and that he “now feels more

   poorly with difficulty with cognition as well as fatigue exhaustion, heart palpitations, heat

   intolerance, irritability, some muscle aches, some muscle weakness, and occasional tremor by his

   history.” LIN1884. These symptoms were “not unlike ones that he [has] felt in the past.” Id. Dr.

   Reed planned to decrease one medication and was going to consider another medication based

   upon upcoming laboratory studies. LIN1883.

          In November 2019, Dr. Reed contacted another endocrinologist, Dr. Berger, to get a

   second opinion as Dr. Reed “felt that Mr. Learn’s residual thyroid condition was perhaps causing

   his lingering cognitive and mental dysfunction.” LIN616. Dr. Reed sought Dr. Berger’s opinion

   regarding a potential diagnosis of Hashimoto’s Encephalopathy. Id. Thereafter, Dr. Berger saw

   Mr. Learn as a patient for “hypothyroidism subsequent to radioactive iodine for Graves’

   disease.” Id. After her examination of Mr. Learn, Dr. Berger believed that he did not have

   Hashimoto’s Encephalopathy, but “concur[red] that his cognitive function is impaired” and so

   explored other factors. LIN2080.

          Dr. Berger found Mr. Learn’s symptoms in 2016 were “so extreme and [Mr. Learn] was

   still suffering from the ill effects of his Graves’ disease.” LIN616 (emphasis added). In reviewing


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   his records, Dr. Berger considered the most recent 17 of the TSH labs (from 2017 to 2019), and

   found “only 3 of th[ese] TSH values are in the normal range.” 2 Id. Indeed, Mr. Learn’s TSH

   values from 2017-2019 were anything but normal: “0.8, 0.07, 0.04, 0.51, 13.5, 0.01, 0.08, 8.31,

   27, 13, 7, 5.6, 0.04, 0.18, 0.08, 3.19, 0.97.” LIN616–17. She explained that “the higher the TSH

   value, the more hypothyroid or under treated the patient is,” and that “[s]uppressed TSH levels

   less than 0.34 are indicative of over replacement of thyroid medication.” LIN617. Dr. Berger

   further explained that “[e]ither situation exacerbates depression and when over treated, it

   exacerbates sleep disturbance, depression, and anxiety and cognitive dysfunction.” Id. Thus, Dr.

   Berger determined that Mr. Learn’s “levels fluctuated widely” while he was “under treatment,

   causing significant hypothyroidism resulting in worsening depression and lethargy, cognitive

   dysfunction to over treatment which worsened his irritability, anxiety, depression and sleep

   disturbance.” LIN616. Dr. Berger expressed that “[i]t is unclear how [Mr. Learn’s] physicians

   deemed him clinically euthyroid when his thyroid levels were obviously not controlled and not

   stable at any point.” Id. (emphasis added).

          Thus, Dr. Berger determined during Mr. Learn’s November 2019 examination that he

   “did not suffer from Hashimoto’s encephalopathy but instead from uncontrolled hypothyroidism

   exacerbating his sleep apnea, depression, anxiety and cognitive dysfunction.” LIN617. Further,

   Dr. Berger explained that during Mr. Learn’s February 2020 appointment, he “reported moderate

   improvement in his clinical symptoms which correlated with laboratory values that he obtained

   for that visit showing normal thyroid levels as well as normal vitamin levels.” LIN618; see also

   LIN2042 (noting that at his February 2020 appointment, Mr. Learn reported that his “[m]emory


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            Dr. Berger explained how, even though “[t]he therapeutic range for thyroid control lies
   in the TSH range of 0.34–4.8,” that was “too wide [a] range” for Mr. Learn; instead, the
   Endocrine Society “prefers” a TSH level between 0.5–2.5. LIN617.

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   is getting better,” “[s]hort term is a little better but not perfect,” and that he was “able to multi

   task better”). Dr. Berger continued: “[t]hough [Mr. Learn] said he was not perfect, he could see

   improvements with increased motivation and potential improvement of cognitive function since

   our first visit from November.” Id. Dr. Berger explained that while it was “difficult to pinpoint

   the exact date when he can return to work,” she opined that she (and Mr. Learn) were “hopeful

   that with continuation of his current medical regimen with any necessary adjustments, that within

   6 months he may be able to perform job related duties.” Id.

           15. Mr. Learn’s Second Appeal of Denial of Benefits

           In February 2020, with the assistance of counsel, Mr. Learn filed a second-level

   administrative appeal of the denial of his LTD benefits. LIN2207–41. In his appeal, he

   highlighted a “summary of additional evidence submitted” on appeal, which included letters

   from Dr. Berger and Dr. Conley, as well as affidavits submitted by him, his wife, his mother-in-

   law, and two friends, as well as research articles about the effect of Graves’ Disease on the

   human mind and body. LIN2229. Among other things, he asserted that he “cannot perform 8 of

   the 19” principal duties in his job description because he “cannot use the executive functions of

   his brain to concentrate or pay attention.” LIN2239. In the appeal, Mr. Learn further contended

   that, as was shown in the evidence “from the medical records and from [his] affidavit, he

   struggles with all areas of reasoning, problem solving, and planning.” Id.

           Turning first to Dr. Reed’s letter of February 5, 2020, Dr. Reed stated that Mr. Learn’s

   “combined anxiety disorder and the inability to normalize the thyroid function with [Iodine]-131

   and large doses of methimazole left him in a state of subclinical hyperthyroidism for much of the

   period between May [20]16 and February 2017.” LIN2069. Accordingly, Dr. Reed explained

   that “[a]s [they] managed his condition, the circulating TSH was in the ideal therapeutic range in


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   general only 2 weeks out of the 40-week period or about 5% of the time.” Id. Dr. Reed further

   wrote that “[d]uring this period of fluctuating thyroid function while normalization was

   attempted, [Mr. Learn] continued to see his psychiatrist and be treated with antianxiety and

   antidepressant medications,” and despite the medications, “Mr. Learn continued to have

   disabling fatigue and difficult[y] with clear thinking.” LIN2070. Dr. Reed continued, that “[o]ver

   the next two years his thyroid hormone values remained within the euthyroid range although he

   continued to have fatigue,” and he explained that in view of Dr. Conley’s testing which “showed

   some objective cognitive decline,” he referred Mr. Learn to Dr. Berger. Id. Dr. Reed opined that

   he believed that “[m]any if not all of [Mr. Learn’s] described behaviors between 2016 and 2018

   could well have been either directly or indirectly accounted for by coexistent thyrotoxicosis and

   subclinical hyperthyroidism and hypothyroidism.” Id. Dr. Reed further concluded that “[t]his

   altered thyroid state could have emphasized changes from his underlying behavioral diagnosis

   and his cognitive decline is objective and its etiology at this time is uncertain.” Id. Dr. Reed also

   described and cited research (including that which he had been an author or coauthor), stating

   that it is “well supported that thyroid dysfunction when it is elevated or reduced can have clear

   cognitive deficits.” LIN2071.

          Dr. Berger also submitted a letter with Mr. Learn’s appeal describing his diagnosis and

   condition in April 2020. LIN265–66. Therein, she “emphasize[d] the severity of Mr. Learn’s

   thyroid disease and the prolonged course (over years) it took to regulate his thyroid levels,” and

   stressed that it was “the most extreme case [of hyperthyroidism] known as Thyroid Storm.”

   LIN265 (emphasis added). Dr. Berger noted that his “free T3 level of > 30 (ULN under 4) was

   the second highest [she] ha[d] ever seen in [her] 23 years of Endocrine experience.” Id. Dr.

   Berger further described that “the next 2 years of testing never truly revealed a euthyroid


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   sustainable status for Mr. Learn,” and because he “was [n]ever actually truly euthyroid … this

   all played havoc on his depression, anxiety and sleep quality resulting in sustained cognitive

   impairment.” Id. (emphasis added). Further, Dr. Berger expressed that following Mr. Learn’s

   “thyroid storm” and its “life threatening consequences,” the “resultant cognitive impairment,

   cognitive decline, memory difficulties and associated depression and anxiety cannot be argued

   against”—explaining that “[t]his is a well-documented clinical and neuropsychological

   researched topic with a multitude of articles to support this assertion.” LIN266. Dr. Berger

   concluded that notwithstanding her earlier assessment that Mr. Learn “could potentially return to

   an employable level of functioning,” by April 2020 she “concur[red] [with Mr. Learn] that he is

   not capable of ever being able to return to the level of work of which he was performing prior to

   2016.” Id.

          Mr. Learn’s wife submitted an affidavit describing her husband’s conditions and

   symptoms. LIN1194–96. She explained that when her husband “first got sick, he struggled with

   organizing his thoughts, time frames, and responsibilities;” in short, he “felt that his brain was

   not working.” LIN1195. Mrs. Learn attested that her husband still has “extreme difficulty

   following simple instructions” and “gets very overwhelmed and anxious.” Id. For instance, she

   explained that her husband “struggles with calculating simple math problems involving addition”

   and “struggles with counting.” Id. According to Mrs. Learn, her husband tries to assist with daily

   activities but is impaired in his ability to do so. He “will try to run errands but will forget what he

   is supposed to get or where he is supposed to go … even if he has a list of what to do or what to

   get with him.” Id. And he will “attempt[ ] to help [their] kids with their school papers but

   struggles to read them,” and he told her “he cannot comprehend what is written.” LIN1194. Even

   going out to eat is a struggle. Mr. Learn “struggles [to] order food at a restaurant” and “gets


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   confused with what he is supposed to order even if he has a menu.” Id. Mrs. Learn explained that

   her husband “used to be an avid reader” and “was always learning new things” before he “began

   experiencing Graves’ disease symptoms.” Id. He has no interest in reading or learning anymore.

   Id. And according to Mrs. Learn, when her husband “tried to return to work in a physical therapy

   position,” he was “unable to handle most aspects of the job.” LIN1195. For instance, he was

   unable “to evaluate and treat patients,” “set functional goals and plan activities to help his

   patient[s] achieve their goals,” and he was even “unable to get to patient[s’] homes.” Id.

          Mr. Learn’s mother-in-law also submitted an affidavit. LIN1197–98. She described that,

   “[a]fter being diagnosed with Graves’ disease, [Mr. Learn] began struggling with organizational

   tasks and processes,” and that he “also struggled with focusing on his work.” LIN1197. She

   attested that she has “witnessed [Mr. Learn] suffer from poor cognition and difficulty with

   problem solving.” Id. Among other things, she explained that Mr. Learn “cannot help his

   daughter with her homework,” and that “[m]aking calculations and drawings based on

   calculations is overwhelming to him.” Id. Mr. Learn’s mother-in-law attested that he has “lost

   interest” and “motivation” to do those things he used to be interested in; moreover, he “no longer

   maintains friendships,” and “does not participate in conversations.” LIN1197–98. And she

   further stated that Mr. Learn “is confused by simple tasks such as ordering food at a fast food

   restaurant or going grocery shopping.” LIN1198.

           Mr. Learn also submitted an extensive affidavit. LIN1182–93. He described that he was

   “feeling somewhat better” in February and March 2019, and he thought he could go back to

   work full time. LIN1189. Then, when Mr. Learn took a job as a home health physical therapist,

   he explained that his medication “stopped working and [his] cognitive and mental health

   symptoms started coming back,” and as a consequence he “lasted in that job for about 2 weeks.”


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   Id. For instance, a scheduling task that would “ordinarily take 10 minutes” took him over two

   hours. Id. Mr. Learn further explained that his “short-term memory is terrible,” and as a result, he

   “ha[s] to write down lists to accomplish anything.” Id. From May to September 2019, he wrote

   that his symptoms started coming back, including fatigue, exhaustion, impaired memory, and

   difficulty speaking. LIN1189–90.

          In September 2019, Mr. Learn tried again to find a job online where he was “responsible

   for evaluating and treating patients, reviewing charts, gathering medical histories, completing

   electronic medical records, and interacting with medical staff.” LIN1190. However, Mr. Learn

   attested that “[b]ecause of his cognitive limitations, [he] felt like [he] could not understand what

   [he] needed to do.” Id. He could not, for example, “remember what [he] had done in treatments

   in order to document them after the fact,” and he “could not remember many factors of the initial

   evaluation and subsequent treatment plans.” Id. Because he did not “feel safe treating patients

   with health conditions” and given his “[in]ability to create a treatment plan for the patient” to

   assist in their recovery, Mr. Learn “felt like [he] had no choice but to resign.” Id. And while he

   has “started feeling slightly better, [his] symptoms have continued to the point that [he] ha[s] not

   been able to return to any meaningful work.” Id. Mr. Learn attested that at home, he experiences

   “brain fog,” that his “ability to multitask and concentrate suffered,” that his thoughts “often seem

   jumbled, fragmented and unrelated to each other.” LIN1191. Mr. Learn wrote that his memory

   “has continued to suffer”: he forgets conversations and grocery lists, and “between 10 and 20

   times a day,” he will “get up and walk across the room and completely forget what [he] went to

   do.” LIN1191–92. When he is driving, Mr. Learn “sometimes forget[s] where [he] is going or

   where [he] need[s] to go at that particular moment.” LIN1192. And he attested that given his




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   “thought processing difficulties,” he has “great difficulty making even the simplest day-to-day

   decisions about what to wear for the day or what [he] [is] going to eat for lunch or dinner.” Id.

          Mr. Learn concluded that, “with [his] cognitive issues and fatigue, [he] feel[s] like an old

   person rather than a 52-year-old man,” and that there was “no way that [he] could return to work

   like this, much as [he] might want to.” Id.

           16. Lincoln Denies Second Appeal

          Lincoln secured an endocrinologist “to assist in assessing the severity of [Mr. Learn’s]

   thyroid condition and the impact it would have on his function,” as well as a neuropsychologist

   “to determine whether the evidence available would support the claimant having cognitive or

   psychiatric restrictions/limitations.” LIN415. A neuropsychologist, Dr. Hertza, and an

   endocrinologist, Dr. Sood, were selected.

          Dr. Hertza stated that he conducted his review “from a neuropsychology perspective.”

   LIN421. He noted that Mr. Learn’s “reported diagnoses include major depressive disorder,

   generalized anxiety disorder, and mild neurocognitive disorder due to thyroid disease.” Id. Dr.

   Hertza noted that Mr. Learn saw Dr. Conley for a neuropsychological evaluation, but wrote that

   “no effort tests with regard to cognition were utilized,” and as a result, Dr. Hertza wrote that

   “this test is not interpretable for forensic reasons.” Id. Neither Dr. Hertza, nor Lincoln, explain

   what that means. Accordingly, Dr. Hertza concluded that, “[g]iven mental status exams that do

   not describe functional impairment, formal assessment with no validity measures, and no

   indication of high-level care, the available medical record is found to not support functional

   impairment from 03/05/2019 to present.” Id.

          Dr. Sood concluded her review from an internal medicine and endocrinology perspective.

   She determined that, “[b]ased on the lab results provided for review, TSH values were within


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   normal range and it is unclear why the dosages kept being adjusted. The change from generic vs.

   brand name medication is understood, but when adjusting this, and adding T3 for example, the

   dose of T4 was not reduced. It is unclear as to what the providers were addressing by changing

   the dosages.” LIN422–23. Elsewhere, Dr. Sood wrote that “the claimant’s thyroid labs have been

   normal.” LIN424. Dr. Sood concluded that “there is no functional impairment resulting in

   restrictions and limitations supported. As far as the labs that were provided for review, all were

   within normal limits. While it is possible that thyroid patients don’t feel well on certain

   formulations of thyroid medication, this does not impact functionality or result in restrictions or

   limitations.” LIN425.

          In a letter dated May 21, 2020, Lincoln stated that “[b]ased on the information provided,

   we have determined that we are unable to approve benefits beyond March 5, 2019.” LIN203.

   Lincoln wrote that, “[i]n our appeal process, all information previously submitted as well as any

   new documentation was used to make a determination.” Id. After summarizing its claim history

   and denials of benefits, Lincoln noted that it consulted with Dr. Hertza and Dr. Sood, in

   determining that Mr. Learn’s medical documentation “does not support that [he] was unable to

   perform the main duties of [his] own occupation beyond [his] date last paid.” LIN205. Lincoln

   then copied and pasted a portion of Dr. Hertza’s statement that there was “no support for

   functional impairment,” and “[g]iven mental status exams that do not describe functional

   impairment, formal assessment with no validity measures, and no indication of high level care,

   the available medical record is found to not support functional impairment, from 03/05/2019 to

   present.” LIN206. Lincoln also quoted Dr. Sood’s statement that “thyroid labs have been

   normal,” that “TSH values were within normal range,” and that it was “unclear as to what values

   the providers were addressing by changing the dosages.” Id.


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                                      Relevant Plan Provisions

         The Group Policy (the “Plan”) includes the following definitions relevant to this case.

         TOTAL DISABILITY or TOTALLY DISABLED will be defined as follows:

                   1. During the Elimination Period and Own Occupation Period, it means
                      that due to an Injury or Sickness the Insured Employee is unable to
                      perform each of the Main Duties of his or her Own Occupation.

                   2. After the Own Occupation Period, it means that due to an Injury or
                      Sickness the Insured Employee is unable to perform each of the Main
                      Duties of any occupation which his or her training, education or
                      experience will reasonably allow.

         The loss of a professional license, an occupational license or certification, or a
         driver’s license for any reason does not, by itself, constitute Total Disability.

   LIN139.

         MAIN DUTIES or MATERIAL AND SUBSTANTIAL DUTIES means those job
         tasks that:

                   1. are normally required to perform the Insured Employee’s Own
                      Occupation; and
                   2. could not reasonably be modified or omitted.

   LIN136.

         OWN OCCUPATION or REGULAR OCCUPTION means the occupation, trade
         or profession:

                   1. in which the Insured Employee was employed with the Employer prior
                      to Disability; and
                   2. which was his or her main source of earned income prior to Disability.

         It means a collective description of related jobs, as defined by the U.S.
         Department of Labor Dictionary of Occupational Titles.

   LIN137.

         The Group Policy includes the following provisions relevant to submitting a claim for

   LTD benefits.



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          PROOF OF CLAIM. The Company must be given written proof of claim within
          90 days after the end of the Elimination Period. When it is not reasonably possible
          to give written proof in the time required, the claim will not be reduced or denied
          solely for this reason, if the proof is filed:

                 1.   as soon as reasonably possible; and
                 2.   in no event later than one year after it was required.

   LIN142. The proof of claim “must be provided at the Insured Employee’s own expense.” Id. “It

   must show the date the Disability began,” as well as “its cause and degree.” Id. Claim

   documentation must include, among other things, “completed statements by the Insured

   Employee and the Employer,” “a completed statement by the attending Physician, which must

   describe any restrictions on the Insured Employee’s performance of the duties of his or her

   Regular Occupation;” and “any other items the Company may reasonably require in support of

   the claim.” Id. Proof of “continued Disability, regular Care of a Physician, and any Other Income

   Benefits affecting the claim must be given to the Company” within 45 days of the Company’s

   request for such information. Id. If it is not timely provided, “benefits may be denied or

   suspended.” Id.

          The Plan provided the Company “discretionary authority,” stating that “[e]xcept for the

   functions that this Policy clearly reserves to the Policyholder or Employer, the Company has the

   authority to manage this Policy, interpret its provisions, administer claims and resolve questions

   arising under it.” LIN144. That authority included “determin[ing] eligibility and resolv[ing]

   claims questions,” “determin[ing] what information the Company reasonably requires to make

   such decisions,” and “resolv[ing] all matters when an internal claim review is requested.” Id.

                                          Standard of Review

          Summary judgment is appropriate when “there is no genuine dispute as to any material

   fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). “The party


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   seeking summary judgment bears the initial burden of demonstrating that there is no genuine

   issue of material fact.” Sedar v. Reston Town Ctr. Prop., LLC, 988 F.3d 756, 761 (4th Cir. 2021)

   (citing Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986)). “Once the movant has made this

   threshold demonstration, the nonmoving party, to survive the motion for summary judgment,

   must demonstrate specific, material facts that give rise to a genuine issue.” Sedar, 988 F.3d at

   761 (citing Celotex Corp., 477 U.S. at 323). “[A]t the summary judgment stage, the [court’s]

   function is not [ ] to weigh the evidence and determine the truth of the matter but to determine

   whether there is a genuine issue for trial.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249

   (1986). But summary judgment should be awarded “unless a reasonable jury could return a

   verdict for the nonmoving party on the evidence presented.” McLean v. Patten Cmtys., Inc., 332

   F.3d 714, 718–19 (4th Cir. 2003) (citing Anderson, 477 U.S. at 247–48).

          As a court considers cross-motions for summary judgment, it must review “each motion

   separately on its own merits to determine whether either of the parties deserves judgment as a

   matter of law.” Rossignol v. Voorhaar, 316 F.3d 516, 523 (4th Cir. 2003) (citations and internal

   quotation marks omitted). And as the court considers each individual motion, it must “resolve all

   factual disputes and any competing, rational inferences in the light most favorable to the party

   opposing that motion.” Id. (internal quotation marks omitted).

                                            Applicable Law

          A court is required to “review de novo an ERISA benefits determination unless the plan

   confers discretionary authority on its administrator.” Woods v. Prudential Ins. Co. of Am., 528

   F.3d 320, 321 (4th Cir. 2008) (citing Firestone Tire & Rubber Co. v. Bruch, 489 U.S. 101

   (1989)). Here, the parties agree that the Plan conferred discretion upon Lincoln in its

   administration of the Plan. See id.; Dkt. 26 at 21; Dkt. 27-1 at 10. In the ERISA context, the


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   abuse of discretion standard “equates to reasonableness,” such that a court “will not disturb an

   ERISA administrator’s discretionary decision if it is reasonable,” but it “will reverse or remand if

   it is not.” Evans v. Eaton Corp. Long Term Disability Plan, 514 F.3d 315, 322 (4th Cir. 2008).

   An administrator’s decision is reasonable “if it is the result of a deliberate, principled reasoning

   process and if it is supported by substantial evidence,” with “careful attention” being paid to the

   plan requirements and the rules of ERISA itself. Id. (quotations and citations omitted). Relevant

   here, an administrator’s decision is not supported by substantial evidence when its decision

   reflected a “‘wholesale disregard’ of evidence supporting the employee’s claim.” White v. Eaton

   Corp. Short Term Disability Plan, 308 F. App’x 713, 717 (4th Cir. 2009) (quoting Donovan v.

   Eaton Corp., 462 F.3d 321, 319 (4th Cir. 2006)).

          The following are a non-exhaustive list of factors relevant to the Court’s inquiry whether

   the administrator’s decision was reasonable:

          (1) the language of the plan; (2) the purposes and goals of the plan; (3) the
          adequacy of the materials considered to make the decision and the degree to
          which they support it; (4) whether the fiduciary’s interpretation was consistent
          with other provisions in the plan and with earlier interpretations of the plan; (5)
          whether the decisionmaking process was reasoned and principled; (6) whether the
          decision was consistent with the procedural and substantive requirements of
          ERISA; (7) any external standard relevant to the exercise of discretion; and (8)
          the fiduciary’s motives and any conflict of interest it may have.

   Solomon v. Bert Bell/Pete Rozelle NFL Player Retirement Plan, 860 F.3d 259, 264–65 (4th Cir.

   2017) (quoting Booth v. Wal-Mart Stores, Inc. Assocs. Health & Welfare Plan, 201 F.3d 335,

   342–43 (4th Cir. 2000)) (cleaned up). Every “Booth factor” need not be in play in any given

   case. Helton v. AT&T Inc., 709 F.3d 343, 357 (4th Cir. 2013).

          In any event, faced with language that confers discretion upon a plan administrator, the

   Fourth Circuit has cautioned that a court must follow “its duty of deference and its secondary

   rather than primary role in determining a claimant’s right to benefits.” Evans, 514 F.3d at 323. In

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   other words, an administrator’s “discretionary decision will not be disturbed if reasonable, even

   if the court itself would have reached a different conclusion.” Booth, 201 F.3d at 341.

                                                Analysis

          In this case, Lincoln ignored substantial evidence of Mr. Learn’s disability. Because the

   Booth factors on balance weigh against Lincoln’s denial of LTD benefits and because Lincoln’s

   final decision denying Mr. Learn LTD benefits was not supported by substantial evidence, it was

   therefore unreasonable.

          1. Adequacy of Materials Considered & Degree to Which They Support It
          In this case, the Court will first consider “the adequacy of the materials considered to

   make the decision and the degree to which they support it.” Booth, 201 F.3d at 342. Perhaps

   more than any other Booth factor, shortcomings in the materials Lincoln considered demonstrate

   the arbitrariness of Lincoln’s denial of benefits to Mr. Learn.

          Mr. Learn was treated by Dr. Conley, Dr. Berger, and Dr. Reed—each of whom treated

   Mr. Learn and opined that he suffered from real cognitive decline since his “thyroid storm.” For

   instance, Dr. Conley explained that Mr. Learn’s neuropsychological evaluation results showed

   “neurocognitive dysfunction,” that his “combined cognitive and neuropsychiatric problems very

   likely are a consequence of thyroid disease and associated functional deficits;” and that his

   “acquired neurocognitive deficits, combined with his … Major Depressive Disorder, render him

   disabled and incapable of maintaining employment at the present time.” LIN2395–96. Dr. Berger

   also found that Mr. Learn suffered from “sustained cognitive impairment” as a consequence of

   his “most extreme case [of hyperthyroidism] known as Thyroid Storm” and suffering two years

   of non-euthyroid thyroid levels. LIN265–66. She also found Mr. Learn “not capable of ever

   being able to return to the level of work he was performing prior to 2016.” LIN266. Even Dr.


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   Reed—who had initially cleared Mr. Learn as no longer disabled in 2018 on the basis that he was

   euthyroid—later changed his assessment in 2019 and 2020. He wrote that Mr. Learn was only

   “biochemically near euthyroid,” LIN1883 (emphasis added), and concluded that Mr. Learn’s

   “cognitive decline is objective,” LIN2070 (emphasis added). Incredibly, Lincoln failed to

   mention any of Mr. Learn’s physicians in its final decision denying benefits. Their names do not

   appear in Lincoln’s decision. LIN203–08. Nor did Lincoln describe any of Mr. Learn’s doctors’

   assessments of his diagnoses, impairments, and ability to work. In fact, Lincoln’s final decision

   contains scarcely a glancing reference to any evidence submitted by Mr. Learn. See id. Rather,

   Lincoln did little more than block quote the conclusions of Dr. Sood and Dr. Hertza, and add—

   without elaboration—that its review also did not support Mr. Learn’s claim that he was totally

   disabled, LIN206–07. But ERISA requires that the plan administrator “address evidence

   favorable to [Mr. Learn] ‘thoughtfully and at length,’” and Lincoln’s failure to do “suggests that

   … [it] abused its discretion in denying [him] benefits.” See White, 308 F. App’x at 719 (quoting

   Evans, 514 F.3d at 326).

          Yet Lincoln argues that it did all that was required and more. In Lincoln’s view, the final

   decision shows that its claim reviewers carefully considered the third-party peer-review reports

   of Dr. Sood and Dr. Hertza, and Lincoln argues that they had no obligation to “specifically

   discuss every piece of evidence in the record.” Dkt. 35 at 15–16. Rather, Lincoln contends that it

   was “entirely proper” for it to consider the “consulting physicians’ reliable opinions, and to

   quote portions of the peer review reports, in preparing their determination letters.” Id. at 16. To

   be sure, there is no requirement that a plan administrator “detail every bit of information in the

   record.” Dkt. 35 at 16; Orndorf v. Paul Revere Life Ins. Co., 404 F.3d 510, 526 (1st Cir. 2005).

   But there is a significant flaw in Lincoln’s position—namely, that Dr. Sood and Dr. Hertza


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   themselves did not get important evidence of Mr. Learn’s disability in the first instance. And a

   plan administrator cannot simply “wholesale disregard” evidence of the claimant’s disability,

   White, 308 F. App’x at 717, or “arbitrarily refuse to credit a claimant’s reliable evidence,” Black

   & Decker Disability Plan v. Nord, 538 U.S. 822, 834 (2003); Metro. Life Ins. Co. v. Glenn, 554

   U.S. 105, 118 (2008) (affirming district court decision that plan administrator acted unreasonably

   when it “had failed to provide its independent vocational and medical experts with all of the

   relevant evidence”).

          Specifically, Lincoln completely ignored affidavits Mr. Learn submitted, including his

   own, and those of his wife, his mother-in-law, and his two friends and colleagues. In his claim

   appeal, Mr. Learn’s counsel provided these affidavits to Lincoln and argued that they were

   important—especially with respect to “limitations” as to the “executive functions of [his] brain.”

   LIN2239; see also id. (arguing, “[a]s you can see from the medical records and from Mr. Learn’s

   affidavit, he struggles with all areas of reasoning, problem solving, and planning”); LIN2229

   (describing the affidavits in “summary of additional evidence submitted”). Yet Lincoln failed to

   provide these affidavits to Dr. Hertza and Dr. Sood. LIN216–18, 426–28.

          Significantly, the information in these affidavits directly undermine Dr. Hertza’s

   conclusions. After describing Dr. Conley’s and Dr. Berger’s findings, Dr. Hertza acknowledged

   that “[t]he provider accurately describes symptoms which are often seen with thyroid disorders

   including, but not limited to, impaired sustained attention and amnestic dysfunction and

   comorbid neuropsychiatric disturbances characterized by depression, anxiety, irritability,

   weakness, fatigue, fear, inadequacy, moodiness, social alienation, and inability to cope with

   stress.” LIN212. But Dr. Hertza then wrote that “in this case, these symptoms are not reported to

   be observed behaviorally.” Id. (emphasis added). Further, Dr. Hertza acknowledged that “formal


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   evaluation is not necessary to determine functional impairment,” but suggested that “when

   mental status exams are nondescriptive a formal evaluation helps to evidence level of deficit.”

   Id. Had Lincoln provided any of the affidavits to Dr. Hertza, he would have seen evidence that

   these behaviors were, in fact, “reported to be observed behaviorally.” Id. For instance, in his

   affidavit, Mr. Learn testified how “[his] short-term memory is terrible.” RL Aff. ¶ 54. For

   example, Mr. Learn “get[s] up and walk[s] across the room and completely forget[s] what [he]

   went to do”—a circumstance that happens “between 10 and 20 times a day.” Id. ¶ 74. Moreover,

   he forgets conversations entirely. Id. ¶ 73. Mr. Learn “frequently forget[s] what [he] was doing

   or saying in the middle of doing or saying it.” Id. ¶ 75. His wife testified to other examples. Mr.

   Learn—a former healthcare executive—now struggles to count (WF Aff. ¶ 15), perform

   arithmetic (id. ¶ 11), and has “extreme difficulty following simple instructions” (id. ¶ 10). There

   are myriad other examples. Dr. Hertza (and Dr. Sood), did not and could not consider any of that

   evidence, because Lincoln did not provide them those affidavits.

          Lincoln, for its part, argues that the requisite “objective evidence” is lacking in Mr.

   Learn’s claim documentation. Dkt. 26 at 25–26 (arguing that courts “regularly hold that the

   concept of proof connotes an ‘objective’ component to such evidence”). In Lincoln’s view,

   without such an “objective component,” plan administrators would “have to accept all subjective

   claims of the participant without question.” Id. at 26 (citing Williams v. UNUM Life Ins. Co. of

   Am., 250 F. Supp. 2d 641, 648 (E.D. Va. 2003)). Similarly, Lincoln argues that Mr. Learn cannot

   rely “on the testimony of friends and family members,” nor his own affidavit, because they are

   statements “contain[ing] no objective medical evidence of impairment,” and that “[c]ourts

   routinely discount such lay testimonials.” Id. at 27 & n.6. Lincoln advances numerous other




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   variants of this position that Mr. Learn failed to submit sufficiently “objective” evidence of

   disability. See, e.g., Dkt. 35 at 6, 15; Dkt. 36 at 3–6.

           These after-the-fact arguments run headlong into Lincoln’s statement (to Mr. Learn) that

   “[o]bjective evidence is not a requirement to satisfy this provision.” LIN2280 (emphasis added).

   Indeed, Lincoln continued to advise that “medical evidence supporting the claim being made is

   needed,” which “can include office and treatment records, testing results, therapy records, or any

   other type of documentation that would support the inability to perform the min and substantial

   duties of one’s occupation.” Id. (emphasis added). Mr. Learn provided just the type of

   documentation that Lincoln had requested. Lincoln cannot be heard to complain now that Mr.

   Learn’s evidence is not “objective” enough. Moreover, the Fourth Circuit has clearly held that

   plan administrators should consider similar evidence as part of their “full and fair review

   requirements” under ERISA, including in a case similarly involving the denial of disability

   benefits during the claimant’s treatment for thyroid disease. See Harrison v. Wells Fargo Bank,

   N.A., 773 F.3d 15, 23–24 (4th Cir. 2014) (faulting plan administrator for not considering

   evidence in the record of the claimant’s “mental and physical distress,” including “her sister’s

   statement [that] detailed [her] debilitating panic attacks,” and that explained how “the claimant

   was unable to care for herself”).

           In any event, even if objective evidence were required—and it was not—Mr. Learn

   provided ample objective evidence of disability. That evidence includes his neurocognitive test

   results—test results that Dr. Conley found demonstrated “impaired sustained attention and

   mnestic dysfunction (i.e., rapid decay of recently encoded verbal memory traces),” and that Mr.

   Learn’s “acquired neurocognitive deficits, combined with his … Major Depressive Disorder,

   render him disabled and incapable of maintaining employment at the present time.” LIN2396.


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          Lincoln raises several arguments for why it was allegedly reasonable for Lincoln to

   discount Mr. Learn’s test results by Dr. Conley showing limited mnestic function. Dkt. 35 at 8.

   None are persuasive, or supported by the record. Lincoln makes much of the fact that Mr.

   Learn’s other results for other aspects of his cognitive function, were normal and did not show

   impairment. See, e.g., Dkt. 35 at 8 (conceding that Mr. Learn “did obtain a below average score

   on one test of his mnestic function,” but argued that “that score was an outlier when viewed in

   comparison to the balance of the testing administered by Dr. Conley”); Dkt. 26 at 23. But that is

   neither here nor there. The fact that Mr. Learn did not exhibit impaired “long term” memory, or

   that he demonstrated “normal word-reading and color-naming fluency,” LIN2395, or the like,

   does not undermine separate test results “indicating impaired mnestic function, specifically rapid

   decay of recently encoded verbal memory traces”—i.e., a decline in his short-term memory.

   LIN2395–96. And, significantly, neither Dr. Critchfield nor Dr. Hertza held that position.

   LIN417, 419–20, 2348–50. 3

          Instead, Lincoln’s main argument against Dr. Conley’s test results is that the “consulting

   physicians Drs. Critchfield and Hertza, both of whom are board-certified neuropsychologists,”

   opined that “Dr. Conley’s testing lacked the essential validity measures necessary to confirm that

   the test subject was putting forth his best effort,” Dkt. 35 at 8; see also Dkt. 26 at 23 (arguing

   that absent the “safeguards” of “stand-alone validity measures,” Dr. Critchfield and Dr. Hertza

   explained that “such testing is simply not reliable for forensic purposes”).

          But Lincoln’s argument is misleading; it does not reflect Dr. Conley’s test results or

   indeed, the opinion of Dr. Critchfield. Dr. Critchfield never said that Dr. Conley’s testing lacked


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            Dr. Critchfield did opine that Dr. Conley’s evaluation “did not reflect memory or
   attention deficits of a nature or severity that would be expected to result in functional
   impairment.” LIN2350.

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   “essential validity measures,” nor that such testing was “not reliable for forensic purposes”

   without particular validity measures. See Dkt. 35 at 8; Dkt. 26 at 23. Rather, Dr. Critchfield

   merely noted that Dr. Conley’s evaluation “did not include any standalone measures of

   performance validity”—a fact that is uncontested, LIN2348 (emphasis added). But Dr.

   Critchfield further acknowledged that Dr. Conley’s testing had included “embedded measures of

   performance validity,” and Dr. Critchfield explained that those embedded measures “appear[ed]

   to be within expectation.” Id. (emphases added). Dr. Hertza (and by extension, Lincoln)

   completely ignored the embedded validity measures; much less explained why freestanding

   validity measures were necessary for the testing to be forensically interpretable—contrary to Dr.

   Conley’s and Dr. Critchfield’s opinions. Further still, Dr. Hertza never explained what he meant

   when he said Dr. Conley’s test results “were not interpretable for forensic reasons.” In other

   words, Dr. Hertza and Lincoln discounted contrary evidence without explanation. See White, 308

   F. App’x at 717.

          Nonetheless, Lincoln maintains that Dr. Conley’s tests should be discounted because they

   lacked freestanding validity measures (though they contained embedded validity tests). Dkt. 26

   at 23–24. Lincoln cites Johnson v. Prudential Insurance Company of America, 916 F.3d 712 (8th

   Cir. 2019), to argue that Dr. Conley’s testing was “not reliable for forensic purposes” because it

   lacked “stand-alone validity measures.” Dkt. 26 at 28. But Johnson does not support Lincoln’s

   argument. Just the opposite. In fact, the Eighth Circuit explained in Johnson that “there are

   multiple established ways to test validity of a neuropsychological examination,” in a case in

   which multiple “embedded” and “free-standing” tests had both been employed. 916 F.3d at 716

   (emphasis added). The claimant in that case had failed multiple validity tests to an extraordinary

   degree—providing significant evidence he was malingering. In one doctor’s testing that included


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   both types of validity tests, the claimant “failed almost all of the validity tests,” including two

   free-standing ones that indicated he “was actively attempting to perform poorly.” Id. at 714.

   When another doctor conducted testing of the claimant’s cognitive state, the claimant “failed all

   nine validity measures on the tests she administered,” which the doctor found to be “compelling

   evidence of suboptimal effort.” Id. (emphasis added). Thus, far from supporting Lincoln’s

   argument that freestanding validity measures were required, Johnson recognized that embedded

   validity measures were an “established way[ ] to test validity of a neuropsychological

   examination,” just like free-standing validity measures. 916 F.3d at 716.

          Other authority cited by Lincoln stands for the wholly unremarkable proposition that

   where the record contains evidence of symptom exaggeration or that the claimant was making

   poor effort, that undermines the claimant’s evidence of disability. In one cited case, the claimant

   “failed eighty-six percent of the validity criteria … used to determine whether a patient is

   honestly using his or her best efforts to perform the required physical tests,” and “[v]ideo footage

   further support[ed] the conclusion that [the claimant] was not cooperative,” as by “flexing his

   right knee in the waiting room prior to his [assessment],” an act “he later refused to perform

   during the [assessment] itself.” Ortega-Candelaria v. Johnson & Johnson, 755 F.3d 13, 22 (1st

   Cir. 2014). Again, unsurprisingly, the court “conclude[d] that the record contains evidence

   reasonably sufficient to support a determination that [the claimant] was uncooperative during his

   evaluation.” Id.

          To be clear, in this case there is no evidence of symptom exaggeration or suboptimal

   effort by Mr. Learn. To the contrary, as Dr. Critchfield recognized, embedded validity measures

   “appear[ed] to be within expectation.” LIN2348. And Dr. Conley himself personally observed

   Mr. Learn to be “friendly and cooperative, appearing to apply himself diligently to all tasks


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   required of him” during the neuropsychological testing. LIN2395. Put simply, the record does

   not support Lincoln’s attempt to discredit Dr. Conley’s test results on the basis of the validity

   measures employed or Mr. Learn’s results on such validity measures. 4 And to the extent there

   was any conflict between Dr. Conley and Dr. Critchfield on the one hand, and Dr. Hertza on the

   other, Lincoln impermissibly ignored without explanation the evidence that supported Mr.

   Learn’s claim.

          Next, Lincoln tries another tack, arguing that Dr. Conley’s “neurocognitive testing is

   further drawn into doubt by the results of mental status examinations administered by multiple

   treating practitioners both before and after his examination.” Dkt. 26 at 24; Dkt. 35 at 6–8

   (arguing “Dr. Conley’s opinion of disability was inconsistent with the many contemporaneous

   medical observations in the record from Plaintiff’s other treating physicians”). To be sure, in Dr.

   Hertza’s initial report, he opined—albeit in a conclusory manner—that Mr. Learn’s “[m]ental

   status exams do not describe functional impairment.” LIN420. But significantly, Dr. Hertza did

   not describe the mental status exams to which he was referring. Moreover, some of the exam

   notes would have been supportive of Mr. Learn’s claim to disability, rather than undermine it. 5


          4
             Nor is there any basis in the record by which Lincoln could conclude that Dr. Conley
   should have employed other forms of validity testing, such as freestanding validity tests, rather
   than embedded tests. Compare Gorbacheva v. Abbott Lab. Extended Disability Plan, 309 F.
   Supp. 3d 756, 773 (N.D. Cal. 2018) (holding that plan administrator could reasonably rely on
   doctor’s conclusion that the claimant’s functional capacity evaluation lacked any validity testing,
   where the doctor further “testified that there are standardized techniques … that include validity
   and reliability measures,” and providing examples of the same). Here, in contrast to Gorbacheva,
   validity tests were employed and the record further lacked any explanation or evidence that those
   measure employed were in any way deficient.
          5
            See, e.g., LIN416 (citing Dr. Judd’s treatment notes that “[t]he claimant continued to
   have concentration issues”); id. (“[m]ental status noted a constricted affect”); LIN417 (citing Dr.
   Fore’s notes that “[t]he claimant reported cognitive dysfunction,” and “[m]ental status noted an
   anxious effect”); id. (“[m]ental status noted a depressed mood”); but see LIN397 (citing Dr.
   Fore’s mental status exam that Mr. Learn “left session cognitively intact and not in acute
   distress”).

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   Neither Dr. Hertza nor Lincoln explained why it considered some mental status exams more

   significant than others, let alone why they believed those mental status exams undermined Dr.

   Conley’s test results. LIN420. Indeed, there is no basis in the record for the Court to conclude

   that Dr. Hertza (and Lincoln) did anything other than simply “pick[ ] and choos[e] certain

   evidence in the record while ignoring other relevant evidence.” See Mills v. Union Sec. Ins. Co.,

   832 F. Supp. 2d 587, 598 (E.D.N.C. 2011) (citing Myers v. Hercules, Inc., 253 F.3d 761, 768

   (4th Cir. 2001)).

          Further still, Lincoln’s final decision entirely ignored Dr. Berger’s conclusions. See

   LIN203–08. Lincoln ignored Dr. Berger’s conclusions that Mr. Learn was “still suffering from

   the ill effects of his Graves’ disease,” LIN616; that Mr. Learn was “[n]ever truly euthyroid;” and

   that “this all played havoc on his depression, anxiety and sleep quality resulting in sustained

   cognitive impairment,” LIN265; and that Mr. Learn was “not capable of ever being able to return

   to the level of work which he was performing prior to 2016,” LIN266. For their part, Dr. Hertza

   and Dr. Sood noted Dr. Berger’s opinions and assessments, but they, too, failed to meaningfully

   engage with such opinions and conclusions, much less explain any critique of such opinions.

   LIN210–15, 418–21, 422–25.

          In its filings in court, Lincoln now argues that the Court should discount Dr. Berger’s

   opinions on the basis that, among other things: “her analysis is entirely retrospective and

   concerns impairments that manifested during [Mr. Learn’s] … ‘thyroid storm’ from 2016 to

   2018,” she did not “cite any evidence of cognitive impairments that [Mr. Learn] alleges,” she

   “d[id] not rely on Dr. Conley’s [report],” and that her letter was more akin to patient “advocacy”

   than unbiased medical opinion. Dkt. 26 at 24–25; see also id. at 19 (describing her letters as

   “advocacy letters”); Dkt. 35 at 10–11 (similar); Dkt. 36 at 4, 7 (similar). However, because the


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   Court is limited to considering only those rationales provided by Lincoln in its denial of benefits,

   and because Lincoln did not rely on any of these grounds as a basis for terminating benefits, they

   provide no grounds to affirm Lincoln’s decision on judicial review. See, e.g., Hall v. Metro. Life

   Ins. Co., 259 F. App’x 589, 592–93 (4th Cir. 2007); Thompson v. Life Ins. Co. of N. Am., 30 F.

   App’x 160, 164 (4th Cir. 2002) (“A court may not consider a new reason for claim denial offered

   for the first time on judicial review.”). 6

           Even if these arguments could be considered, they are belied by the record and caselaw.

   Lincoln argues that Dr. Berger’s “contemporaneous notes plainly refute the conclusory assertions

   of ongoing disability she makes in her post-hoc advocacy letters.” Dkt. 35 at 11. Not so. Lincoln

   cherry-picks parts of Dr. Berger’s treatment notes it finds favorable (e.g., when asked if Mr.

   Learn had “[t]rouble concentrating on things, such as reading the newspaper or watching

   television,” he replied, “[n]ot at all”), id. at 10, while ignoring that Dr. Berger wrote in those

   same notes, “[c]ognitive decline is still there and depression and anxiety have ensured,” and that

   Dr. Berger later determined, “I concur that his cognitive function is impaired ….” LIN2047–48.

   Dr. Berger’s contemporaneous treatment notes support, rather than refute, her later assessments.

   Lincoln fails to explain why the parts of the treatment notes it cites are more probative of Mr.

   Learn’s disability than the ones it ignores. In any event, this record bears little resemblance to the


           6
            Lincoln also ignored other relevant evidence without comment. In its denial letter,
   Lincoln quoted part of Dr. Hertza’s initial report stating that there was “no indication of high
   level care,” as supporting termination of benefits. LIN206. But in response to that report, Mr.
   Learn’s counsel submitted evidence that Mr. Learn was undergoing a six-week ‘intensive
   treatment” regimen of “transcranial magnetic stimulation,” or “TMS,” as treatment for his major
   depressive disorder. LIN222–23. Indeed, Dr. Hertza acknowledged Mr. Learn’s TMS six-week
   TMS treatment, and did not expressly reiterate his opinion that Mr. Learn had not received any
   “high level care,” LIN210–11, which would have been inaccurate. Neither Lincoln nor Dr.
   Hertza discussed or elaborated upon this treatment, nor explained why it did not support a
   finding of disability. LIN210–12. Again, Lincoln simply ignored contrary evidence without
   explanation. See White, 308 F. App’x at 717.

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   cases Lincoln cites, where a treating physician’s later opinion on patient disability was

   completely unmoored from earlier treatment notes without explanation. 7 Other new arguments

   Lincoln raises in its briefing, including deriding Dr. Berger’s, Dr. Conley’s, and Dr. Fore’s

   medical opinions on the basis that Mr. Learn went “shopping for new doctors” to support his

   disability claim, Dkt. 26 at 23, similarly fails because such arguments were not a basis upon

   which Lincoln had terminated benefits. See Thompson, 30 F. App’x at 164.

          This Booth factor therefore weighs heavily in favor of Mr. Learn. Lincoln’s final

   decision, on its face, failed to acknowledge, let alone address, substantial evidence of Mr.

   Learn’s disability. See Booth, 201 F.3d at 342 (noting consideration of “the adequacy of the

   materials considered to make the decision and the degree to which they support it”). Neither

   Lincoln (nor Dr. Hertza nor Dr. Sood) ever addressed the ample evidence of disability in Mr.

   Learn’s, his wife’s and the other affidavits. Additionally, Dr. Conley’s neuropsychological

   testing constituted objective evidence of Mr. Learn’s cognitive decline, and the myriad after-the-

   fact reasons Lincoln now offers to discredit those test results do not undermine Dr. Conley’s

   testing or conclusions. Lincoln similarly failed to address (let alone explain any criticism of) Dr.

   Berger’s opinions and Dr. Reed’s updated opinion that Mr. Learn suffered from real objective

   cognitive decline.

          2. Whether the Decisionmaking Process Was Reasoned And Principled

          The Court also must consider “whether the decisionmaking process was reasoned and

   principled.” Booth, 201 F.3d at 342. In other words, the plan administrator’s decision must


          7
             Compare, e.g., White v. Standard Ins. Co., 895 F. Supp. 817, 840 (E.D. Mich. 2012)
   (plan administrator did not act arbitrarily in discounting physician’s conclusion that patient’s
   pain medication “makes her totally disabled” and impaired her “cognitive ability and functional
   ability to do her job,” when contemporaneous examination records recorded that the patient’s
   “only reported side-effect from the medication was constipation”).

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   “result from a fair and searching process.” Harrison v. Wells Fargo Bank, N.A., 773 F.3d 15, 21

   (4th Cir. 2014). In some respects, this is a similar inquiry to the prior one: asking whether the

   plan administrator considered adequate materials and whether they supported the administrator’s

   decision. Stull v. Life Ins. Co. of N. Am., No. 3:20-cv-291, 2021 WL 4993485, at *10 (W.D.N.C.

   Oct. 27, 2021); Aisenberg v. Reliance Standard Life Ins. Co., No. 1:22-cv-125, 2024 WL

   711608, at *14 (E.D. Va. Feb. 21, 2024) (describing this Booth factor as “a composite of the

   Booth factors when considered holistically”). Lincoln’s decisionmaking process was not

   “reasoned and principled” or “fair and searching.”

          First, “[a] complete record is necessary to make a reasoned decision.” See Harrison, 773

   F.3d at 21; Glenn, 554 U.S. at 118 (noting that the plan administrator’s “fail[ure] to provide its

   independent vocational and medical experts with all of the relevant evidence” supported setting

   aside plan administrator’s decision). As previously described, Lincoln failed to provide Mr.

   Learn’s affidavits to Dr. Hertza and Dr. Sood, and Lincoln’s failure to provide that material

   evidence directly undermined their conclusions. See supra at 37–39.

          Second, Lincoln’s consideration of Mr. Learn’s appeal was arbitrarily walled off from his

   diagnosis, medical condition, and treatment before March 5, 2019—i.e., the period when Lincoln

   had found Mr. Learn disabled. In Lincoln’s view, because his disability must be supported after

   March 5, 2019, that period was “the [sole] focus of [Lincoln’s] determination.” LIN205; see also

   LIN2313 (“Since benefits were paid to 03/05/2019, the focus of our review is from this date

   forward.”). Accordingly, Dr. Sood, Dr. Hertza, and Dr. Critchfield all constrained their review to

   the period beyond March 5, 2019. 8 Even in its filings before this Court, Lincoln suggests that it


          8
           See LIN416 (“The period in the review is from 03/05/2019 to the present.”); LIN422
   (“The period currently under review is from 03/05/2019 and forward.”); LIN210 (similar);
   LIN214 (similar).

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   would be improper to consider Mr. Learn’s “impairments” pre-March 5, 2019, arguing, for

   example, that Dr. Berger’s “analysis [was] entirely retrospective and concerns impairments that

   manifested during [Mr. Learn’s] so-called ‘thyroid storm’ from 2016 to 2018.” Dkt. 26 at 24; see

   also Dkt. 35 at 5 (criticizing Mr. Learn’s reliance on evidence between 2016 and 2018). But as

   Mr. Learn’s doctors—Dr. Conley, Dr. Learn, and even Dr. Reed—all explain, Mr. Learn’s wild

   thyroid fluctuations from 2016 to March 5, 2019 all contributed to lasting and sustained

   objective cognitive decline after March 5, 2019. See, e.g., LIN2965–96 (Dr. Conley); LIN265–

   66 (Dr. Berger); LIN2070 (Dr. Reed). The fact that Lincoln had found Mr. Learn disabled during

   that earlier period and awarded LTD benefits did not render evidence of his disability irrelevant

   to his claim that he later remained disabled. However, Lincoln never grappled with that clear and

   consistent explanation for Mr. Learn’s disability, and its (and Dr. Hertza and Dr. Sood’s by

   extension) failure to consider pre-March 5, 2019 evidence arbitrarily gave short shrift to the basis

   for disability supported by the evidence here.

           Third, there is little in Lincoln’s final appeal decision to show that it was the result of a

   “fair and searching process.” See Harrison, 773 F.3d at 21. A paradigmatic example of Lincoln’s

   perfunctory analysis of Mr. Learn’s evidence is its treatment of his abnormal thyroid hormone

   (TSH) levels. Dr. Reed had determined that Mr. Learn’s “target” TSH levels were between 1–3

   mU/L. LIN2716. For a year and a half (from early 2017 to June 2018), Mr. Learn’s TSH levels

   regularly ricocheted above and below that range, without actually staying within those limits,

   with a handful of exceptions. LIN2228; LIN617. Dr. Berger explained what those varying TSH

   levels meant, stating that “the higher the TSH value, the more hypothyroid or under treated the

   patient is,” while “[s]uppressed TSH levels less than 0.34 are indicative of over replacement of

   thyroid medication.” LIN2108. And Dr. Berger explained the significance of those varying levels


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   to Mr. Learn, as “[e]ither situation exacerbates depression and when over treated, it exacerbates

   sleep disturbance, depression and anxiety and cognitive dysfunction.” Id. Accordingly, she had

   concluded that “Mr. Learn’s TSH values from 2017-2019” demonstrated that he suffered from

   “uncontrolled hypothyroidism exacerbating his sleep apnea, depression, anxiety and cognitive

   dysfunction.” LIN617; accord LIN2396 (Dr. Conley, reporting that Mr. Learn’s “combined

   cognitive and neuropsychiatric problems are very likely a consequence of thyroid disease and

   associated functional deficits”).

          But Lincoln did not engage with Mr. Learn’s evidence and medical opinions that his

   wildly fluctuating thyroid levels over years caused permanent cognitive decline. Rather, Lincoln

   simply adopted Dr. Sood’s statement that “[t]he claimant’s thyroid levels have been normal,”

   and that, “[b]ased on the lab results provided, TSH levels were within normal range and it is

   unclear why the dosages kept being adjusted.” LIN206. Indeed, the evidence was just the

   opposite—that Mr. Learn’s thyroid levels predominantly had not been “within normal range”

   according to Dr. Reed’s target or Dr. Berger’s “preferred” TSH level between 0.5–2.5. See

   LIN617, 2716. Dr. Sood and Lincoln seemingly employed a different definition of “normal”

   TSH ranges, but never defined it, much less explained why it was more appropriate than those

   ranges used by Dr. Reed and Dr. Berger. To the extent that Dr. Sood only considered Mr.

   Learn’s recent TSH levels without considering the effect that his previous highly irregular TSH

   levels and “uncontrolled hypothyroidism” had on his “sleep apnea, depression, anxiety and

   cognitive dysfunction,” LIN617, Lincoln’s reliance on such an opinion ignored Mr. Learn’s

   clearly articulated basis for disability and lacked the requisite reasoned, principled

   decisionmaking.




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          Dr. Sood’s cursory consideration of Mr. Learn’s changing medication and dosages, and

   Lincoln’s subsequent cut-and-paste adoption of Dr. Sood’s conclusion, further demonstrate that

   Lincoln did not employ a fair and searching process in this case. Dr. Sood summarily opined that

   it was “unclear why the dosages kept being adjusted” for Mr. Learn’s medications, except that

   the switch to “generic vs. brand name medication … [wa]s understood.” LIN423. But Dr. Berger

   had explained the changes she had made to Mr. Learn’s medications and dosages. LIN2108. For

   example, she noted that Mr. Learn had been on a medication regimen “for the past 2 years, which

   essentially g[ave] him an overdose of Levothyroxine medication throughout the week and an

   under dose of Levothyroxine once a week.” Id. The result was that, “[c]linically, this create[d] a

   roller coaster effect for patients and exacerbate[d] any underlying mental disorders especially

   depression and anxiety related to an imbalance of his dose.” Id. Dr. Berger adjusted the timing

   and dosages “to truly make [Mr. Learn] clinically euthyroid,” but still he already suffered from

   “uncontrolled hypothyroidism exacerbating his sleep apnea, depression, anxiety and cognitive

   dysfunction.” Id. Dr. Sood was aware of Dr. Berger’s opinion in this respect. LIN423. But she

   did not address it. Neither did Lincoln. Rather, Dr. Sood (and Lincoln) simply wrote it was

   “unclear why the dosages kept being adjusted.” LIN206, 423. That cursory treatment, which

   again ignored substantial evidence in Mr. Learn’s favor and the main reason for his disability,

   falls short of the requisite fair and searching process.

          That is not to say that Lincoln’s decisionmaking lacked any indicia that it employed a

   reasoned and methodical process. Lincoln afforded Mr. Learn two levels of appeal, and he was

   permitted several opportunities to provide additional information to Lincoln. Moreover, Lincoln

   employed neuropsychologists (Dr. Critchfield and Dr. Hertza), a psychiatrist (Dr. Helding) and

   an endocrinologist (Dr. Sood) to conduct independent reviews of Mr. Learn’s claim.


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   Undoubtedly, there was “extensive back-and-forth between [Lincoln] and [Mr. Learn] at every

   step of [Lincoln’s] review of [his] claim,” and there was a “‘dialogue between [Lincoln] and

   [Mr. Learn].’” See Pifer v. Lincoln Assurance Co. of Boston, No. 1:22-cv-186, 2023 WL

   5208111, at *19–20 (M.D.N.C. Aug. 14, 2023) (quoting Harrison, 773 F.3d at 22). And yet “the

   opportunity for dialogue alone is not sufficient to outweigh the deficiencies in the

   decisionmaking process previously identified” because Lincoln “shut [its] eyes” to considerable

   evidence Mr. Learn submitted in support of his claim for LTD benefits—meaning Lincoln’s

   decisionmaking process was “neither reasoned nor principled.” See Pifer, 2023 WL 5208111,

   at *20.

             Because Lincoln’s decisionmaking process lacked numerous hallmarks of a principled

   and reasoned decisionmaking process, this Booth factor also weighs significantly in Mr. Learn’s

   favor.

             3. Other Booth Factors

                    a. The Language of the Plan

             The Court next considers whether Lincoln adhered to the “language of the plan” in

   rendering its benefits decision. Booth, 201 F.3d at 342.

             As previously described, the Plan provided Lincoln with “discretionary authority” to

   “manage this Policy, interpret its provisions, administer claims and resolve questions arising

   under it,” including “determin[ing] eligibility and resolv[ing] claims questions.” LIN144. And

   there is no dispute that Lincoln has discretionary authority to administer the Plan, and as a result,

   the Court’s review is for abuse of discretion and whether Lincoln’s decision was unreasonable.

   See Dkt. 26 at 21; Dkt. 27-1 at 10. Moreover, there does not appear to be any dispute that, under

   the Plan, Mr. Learn had the burden to demonstrate that he was disabled after March 5, 2019.


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   Dkt. 26 at 3; LIN142; Dkt. 37 at 10 (disclaiming argument that the “burden of proof shifted to

   the Defendant”). In these respects, the language of the Plan sets forth the appropriate abuse of

   discretion standard of review but otherwise does not weigh in favor of or against Mr. Learn’s

   claim of disability. See Pifer, 2023 WL 5208111, at *8 (similar).

           Mr. Learn, for his part, argues that Lincoln went beyond the Plan’s language in

   terminating his benefits. Dkt. 27-1 at 12–13. Specifically, Mr. Learn contends that Dr.

   Critchfield and Dr. Hertza improperly considered whether his depressive symptoms were of such

   a “severity” that they “required elevation to a higher level of care such as intensive outpatient or

   inpatient psychiatric treatment.” Id.; see also LIN2314; LIN421. Mr. Learn posits that the Plan

   includes no language requiring this type of treatment to determine whether he is considered

   disabled, and therefore whether he has had intensive outpatient or inpatient treatment “has no

   relevance to whether [he] is disabled.” Dkt. 27-1 at 13. In any event, Mr. Learn writes that “he

   actually did receive intensive outpatient care to try to combat his symptoms,” namely

   Transcranial Magnetic Stimulation (TMS) “in an attempt to ease symptoms from his major

   depressive disorder.” Id. Mr. Learn faults Lincoln’s “oversight” of this “intensive treatment

   option,” which he argues further shows that Lincoln failed to perform “a principled review of

   [his] file.” Id.

           Lincoln counters that the fact that its “claim professionals, in preparing their

   determination letters, chose to quote portions of the medical consultants’ reports does not mean

   that Lincoln imposed some extra-contractual ‘intensive care’ requirement.” Dkt. 35 at 14. Rather,

   Lincoln argues that its determination letters “make[ ] clear that Lincoln at all times applied the

   Group’s ‘Own Occupation’ standard” in conformity with the Plan’s language. Id. at 15. For

   instance, Lincoln notes in its determination that: “In summary, the medical documentation


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   contained in your claim file does not support Total Disability as defined by the policy.” Id.

   (quoting LIN2407).

          Lincoln did not clearly “exceed[ ] the language of the Plan” when its reviewers wrote that

   his depressive symptoms were not “of a severity that he required elevation to a higher level of

   care such as intensive outpatient or inpatient psychiatric treatment.” See Dkt. 27-1 at 12. The

   statements appear merely descriptive concerning the type of treatment he sought or required, and

   Dr. Critchfield’s use of the “such as” qualifier further suggested that he did not see “intensive

   outpatient or inpatient psychiatric treatment” as a necessary prerequisite for a disability finding.

   In this respect at least, Lincoln did not plainly eschew the Plan language as to whether Mr. Learn

   was “totally disabled.” See LIN139, 136–37. Accordingly, this Booth factor neither weighs for or

   against Mr. Learn. 9

                  b. Purposes & Goals of the Plan

          Next, the Court must consider the “purposes and goals of the plan.” Booth, 201 F.3d at

   342. Mr. Learn notes that “ERISA was enacted to promote the interests of employees and their

   beneficiaries in employee benefit plans, and to protect contractually defined benefits.” Dkt. 27-1

   at 14 (quoting Bruch, 489 U.S. at 113). Mr. Learn’s argument with respect to this factor largely

   incorporates his argument as to the other factors—that Lincoln’s process and decisionmaking

   demonstrated Lincoln’s “arbitrariness and conflict of interest,” and that it was “act[ing] in its

   own interest, and not in the best interest of the beneficiary, [Mr. Learn].” Dkt. 27-1 at 15–16.

   Lincoln, on the other hand, emphasizes its “duty to preserve fund assets for the benefit of all


          9
            Still, as previously described, Lincoln’s failure to address Mr. Learn’s intensive TMS
   treatment to treat his depression—though they opined that he had not undertaken any “intensive
   outpatient or inpatient psychiatric treatment”—is indicative of why other Booth factors weighed
   against Lincoln. See Booth, 201 F.3d at 342 (citing “the adequacy of the materials considered”
   and whether the decisionmaking was “reasoned and principled”).

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   future claimants.” Dkt. 26 at 25; Dkt. 25 at 11–12. Because the arguments with respect to this

   factor largely overlap with the parties’ arguments on the other factors, the Court assigns no

   unique weight to this factor.

                  c. Consistency of the Fiduciary’s Interpretation of the Plan

          The Fourth Circuit has also directed courts to consider “whether the fiduciary’s

   interpretation was consistent with other provisions in the plan and with earlier interpretations of

   the plan.” Booth, 201 F.3d at 342. Here, the Court finds that this factor is of only marginal

   significance to the overall analysis of Lincoln’s decision. The Court notes that Lincoln had

   previously concluded that Mr. Learn was disabled under the terms of the Plan and paid him LTD

   benefits for 21 months. The basis for that decision was largely Mr. Learn’s wildly fluctuating

   TSH levels and Dr. Reed’s conclusions that certain time was required for treatment before Mr.

   Learn would become euthyroid, while he underwent Iodine-131 therapy. And when Dr. Reed

   wrote Lincoln that Mr. Learn had become euthyroid, even Mr. Learn concedes it was not

   unreasonable for Lincoln to rely upon that assertion in March 2019 when it denied him benefits.

   See Dkt. 27-1 at 17 (writing that “it is understandable that early on in March 2019, [Lincoln]

   considered [Mr. Learn] clinically euthyroid. After all [his] treating physician at the time, Dr.

   Reed, claimed [Mr. Learn] was euthyroid.”); see also Dkt. 26 at 22 (Lincoln arguing that by

   March 2019, Mr. Learn’s “treating physicians [he] initially relied upon to establish his disability

   claim” found “he was no longer disabled”).

          However, after March 5, 2019, conditions changed: the basis for Mr. Learn’s continuing

   disability was that he was never truly euthyroid, and that he had suffered lasting cognitive

   deficits as a result of years of uncontrolled hypothyroidism. While Lincoln denied Mr. Learn’s

   appeals on that basis post-March 5, 2019, on this record and given Mr. Learn’s assertions of


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   disability, it was not an inconsistent interpretation of the Plan for Lincoln to deny LTD payments

   in March 2019, though they had earlier been allowed. 10 As described above, however, Lincoln’s

   failure to full consider and analyze Mr. Learn’s further evidence of disability was a significant

   failure in the Court’s consideration of the other Booth factors—particularly regarding the

   adequacy of materials considered and whether there was a reasoned decisionmaking process.

          Mr. Learn also contends that Lincoln “used a standard inconsistent with the policy’s

   definition of ‘Totally Disabled’ when it claimed [he] is not disabled because he did not receive

   “intensive” care. Dkt. 27-1 at 22. The Court has already addressed Mr. Learn’s argument that

   Lincoln improperly required “intensive care” above. While Lincoln did not appear to impose a

   standard higher than that established by the Plan—and so did not impose an interpretation of the

   Plan inconsistent with its earlier decision to award LTD benefits—nonetheless Lincoln’s

   description that Mr. Learn had never received “intensive outpatient” care is belied by the record

   and reflects a cursory, unreasoned opinion. Again, that is more significant to the other Booth

   factors. This Booth factor concerning the consistency of the plan interpretation is of only

   marginal significance, and neither weighs in favor of, nor against, Mr. Learn.

                  d. Consistency with Procedural and Substantive Requirements of ERISA

          The Court next considers whether Lincoln’s decision was “consistent with the procedural

   and substantive requirements of ERISA.” Booth, 201 F.3d at 342. Mr. Learn argues that Lincoln

          10
              Mr. Learn also argues that Lincoln interpreted the Plan inconsistently on the basis of its
   different treatment of the significance of his mental status examinations—before March 5, 2019
   and after that date. The Court considers any discrepancy in Lincoln’s treatment of Mr. Learn’s
   mental status examinations to be of minimal significance to this specific Booth factor, especially
   in view of the different articulated bases for Mr. Learn’s disability before March 2019, versus
   after March 2019. As previously discussed however, Lincoln’s cursory reliance on those
   examinations, and the unexplained reliance on those portions of the exams to deny LTD benefits
   and ignoring the portions that would have been supportive of Mr. Learn’s disability claim, shows
   a failure to fully consider the record and engage in a thorough, searching analysis of his claim—
   which is highly relevant to other Booth factors.

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   violated ERISA’s regulations by failing to provide “[a] description of any additional material or

   information necessary for the claimant to perfect the claim and an explanation of why such

   material or information is necessary.” Dkt. 27-1 at 27 (citing 29 C.F.R. § 2560.503-1(g)(1)(iii)).

   Specifically, Mr. Learn contends that Lincoln in its August 30, 2019 denial letter, and in its

   November 9, 2019 letter, did not sufficiently explain what information Mr. Learn “needed to

   produce to perfect his appeal.” Dkt. 27-1 at 27. In this respect, Mr. Learn has not identified any

   material shortcoming in Lincoln’s compliance with ERISA’s procedural or substantive

   requirements—especially since Lincoln only was required to have “substantially complied with

   Section 2560.503-1’s requirement that such letters outline the steps that a claimant must take to

   obtain review” of the benefits denial. Donnell v. Metro. Life Ins. Co., 165 F. App’x 288, 296 (4th

   Cir. 2006) (unpublished) (emphasis added). It does not “direct ERISA plan administrators to

   provide claimants with a formula for obtaining benefits.” Id.

          Mr. Learn raises a more substantial issue when he argues that Lincoln’s final appeal

   decision letter failed to explain its basis for disagreeing with his evidence. Dkt. 27-1 at 27. The

   relevant ERISA regulations provide that a plan administrator must “includ[e] an explanation of

   the basis for disagreeing with or not … [t]he views presented by the claimant to the plan of

   health care professionals treating the claimant ....” 29 C.F.R. § 2560.503-1(g)(1)(vii)(A)(i). The

   Court has already taken into account the substantive deficiencies in the analysis of Lincoln’s

   final decision letter above, in the Court’s weighing of the “adequacy of the materials considered”

   and whether Lincoln’s decisionmaking process was “reasoned and principled.” See supra 36–52.

   In view of the parties’ arguments on the issue, the Court finds that this Booth factor adds little to

   the analysis.




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                  e. Conflict of Interest

          When an entity that administers a plan “both determines whether an employee is eligible

   for benefits and pays benefits out of its own pocket,” that “dual role creates a conflict of

   interest.” Glenn, 554 U.S. at 108. The court should consider that conflict as a factor in

   determining whether the plan administrator abused its discretion in denying benefits—though the

   significance of the factor will depend upon the particulars of any given case. See id. That factor

   would be of “more importance (perhaps of great importance) where circumstances suggest a

   higher likelihood that it affected a benefits decision,” including in cases “where an insurance

   company administrator has a history of biased claims administration.” Id. at 117. But it would be

   “less important (perhaps to a vanishing point) where the administrator has taken active steps to

   reduce potential bias and to promote accuracy.” Id. Examples of such “active steps” include

   “walling off claims administrators from those interested in firm finances, or by imposing

   management checks that penalize inaccurate decisionmaking irrespective of whom the

   inaccuracy benefits.” Id.

           There is no dispute that Lincoln operated under a “structural conflict,” as it both

   determined whether an employee was eligible for benefits and paid benefits out of its own

   pocket. Dkt. 27-1 at 28–29; Dkt. 35 at 24. Lincoln argues, however, that there was no evidence

   “that structural conflict actually influenced Lincoln’s decision-making process.” Dkt. 35 at 24.

   Thus, in Lincoln’s view, this is a case “where the conflict factor is unimportant.” Id. Mr. Learn

   counters that the conflict-of-interest factor weighs in his favor. He points to the dollar-value of

   the claim—nearly one million dollars—as substantiating its significance. Dkt. 27-1 at 29. He

   also argues that Lincoln failed “to even try to explain why it continued to ignore objective

   evidence of cognitive impairment.” Id. In particular, he critiques Lincoln’s assertion that his


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   symptoms were not “of a nature or severity that would be expected to result in functional

   impairment,” when that “contradicts exam results, [and] numerous treating physicians[’]

   opinions.” Id. In Mr. Learn’s view, these shortcomings are evidence that the structural conflict

   actually influenced Lincoln’s decisionmaking.

          The Court finds that this factor carries little significance in this case. There is no

   argument, much less evidence, that Lincoln “has a history of biased claims administration.” See

   Glenn, 554 U.S. at 108. And, at the same time, it appears Lincoln has taken “active steps to

   reduce potential bias and to promote accuracy.” Id. at 117. Those included hiring a third-party

   vendor to select a qualified independent physician to review the claim file. Dkt. 26 at 9; LIN43,

   LIN2411. Moreover, the Fourth Circuit has stated that “this factor is only significant if the

   plaintiff points to ‘evidence of how the conflict of interest affected the interpretation made by the

   administrator.’” Shaw v. United Mut. of Omaha Life Ins. Co. of Am., No. 21-1818, 2022 WL

   3369525, at *2 (4th Cir. Aug. 16, 2022) (unpublished) (per curiam) (quoting Fortier v. Principal

   Life Ins. Co., 666 F.3d 231, 236 n.1 (4th Cir. 2012)). Mr. Learn’s criticisms of Lincoln’s

   characterizations of his symptoms—while certainly relevant to other factors—are not, without

   more, evidence that Lincoln’s conflict of interested influenced its interpretation of the Plan, nor

   is the substantial dollar value of his claim.

          To be sure, this factor does weigh somewhat in Mr. Learn’s favor. See, e.g., White, 308

   F. App’x at 720 n.5. But, given the lack of substantiation as to the how the structural conflict of

   interest impacted Lincoln’s interpretation of the Plan, or other evidence showing circumstances

   suggesting it impacted its benefits decision, see Shaw, 2022 WL 3369525, at *2; Glenn, 554 U.S.




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   at 117, the Court finds any weight in Mr. Learn’s favor is not material to the Court’s resolution

   of this case. 11

           4. Summary of Booth Factors

           At bottom, the Court finds that the Booth factors pertaining to “the adequacy of the

   materials considered to make the decision and the degree to which they support it,” and “whether

   the decisionmaking process was reasoned and principled,” weigh most significantly in favor of

   Mr. Learn and a conclusion that Lincoln’s decision denying LTD benefits was not reasonable.

   Also weighing somewhat in favor of Mr. Learn are the fourth Booth factor (whether the

   fiduciary’s interpretation “was consistent with … earlier interpretations of the plan”), and the

   eighth Booth factor (the “fiduciary’s motives and any conflict of interest it may have”). The other

   factors do not weigh in favor of or against the reasonableness of Lincoln’s decision. On balance,

   the Court finds that the Booth factors decidedly establish that Lincoln’s decision denying Mr.

   Learn LTD benefits was unreasonable. So too does the Court find that Lincoln’s denial of

   benefits was not supported by substantial evidence, as it was not “the result of a deliberate,

   principled reasoning process,” and it was characterized by the “wholesale disregard” of

   substantial, uncontradicted evidence supporting Mr. Learn’s claim. See Evans, 514 F.3d at 322;

   White, 308 F. App’x at 717 (quoting Donovan, 462 F.3d at 319).

                                               Conclusion

           The Court therefore concludes, accounting for and weighing the applicable Booth factors

   and the Plan language and record, that Lincoln acted unreasonably in denying Mr. Learn’s claim

   for long-term disability benefits. In an accompanying Order, the Court will grant Plaintiff’s


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             The seventh Booth factor, concerning “any external standard relevant to the exercise of
   discretion,” is not relevant—much less material to—the outcome in this case. See Booth, 201
   F.3d at 342.

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   motion for summary judgment, Dkt. 27, and deny Lincoln’s motion for judgment on the

   administrative record, Dkt. 25. In view of Lincoln’s abuse of discretion in conducting its review

   of Mr. Learn’s LTD benefits appeal described above, the Court will order Lincoln to provide Mr.

   Learn with payment of back LTD benefits from March 5, 2019—the date that Lincoln first

   denied benefits under the Plan. See Champion v. Black & Decker (U.S.) Inc., 550 F.3d 353, 362

   (4th Cir. 2008) (explaining that district court has discretion whether to remand or award benefits,

   and that “remand should be used sparingly”); see also Helton, 709 F.3d at 360 (explaining that

   “remand is not required, particularly in cases in which an ERISA plan administrator abused its

   discretion”). The Court will also permit counsel for Mr. Learn to file an application for “costs

   and reasonable attorney’s fees.” See 29 U.S.C. § 1132(g)(1).

          The Clerk of Court is directed to send this Memorandum Opinion to counsel of record.

          Entered this 19th day of March, 2024.




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